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                   EXHIBIT 22
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1                        IN THE UNITED STATES DISTRICT COURT

2                        FOR THE NORTHERN DISTRICT OF GEORGIA

 3                                   ATLANTA DIVISION

4

5             MARK ANDREWS,                        )   No. 1:22-cv-04259-SDG

                                                   )
6                             Plaintiff,           )

                                                   )
7             v.                                   )

                                                   )
8             DINESH D'Souza, et al.,              )

                                                   )
 9                            Defendants.          )

                                                   )
10

11

12

13

14

                       VIDEOTAPED DEPOSITION OF BRUCE SCHOOLEY

15

                                     October 22, 2024

16                                       9:34 a.m.

                          3333 Piedmont Road NE, Suite 2500

17                                   Atlanta, Georgia

18

19

20

21

22

23

24                            Reported by:      Marcella Daughtry, RPR, RMR

                                                CA CSR 14315

25                                              GA No. 6595-1471-3597-5424


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1                      VIDEOTAPED DEPOSITION OF BRUCE SCHOOLEY
2           was taken on October 22, 2024 at the offices of Greenberg
3           Traurig, LLP, 3333 Piedmont Road NE, Atlanta, Georgia,
4           commencing at the hour of 9:34 a.m. before Marcella
5          Daughtry, a Registered Professional Reporter and
6           Registered Merit Reporter, in and for the State of
7           Georgia and State of California.
8
9           APPEARANCES:
10
11                  For the Plaintiff:
12                     SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP
                       MS. QUINN BALLIETT
13                     MS. DANUTA EGLE
                       One Manhattan West
14                     New York, New York 10001
                       212.735.3556
15                      quinn.balliett@skadden.com
                        danuta.egle@skadden.com
16
17                  For the Defendants True the Vote, Gregg Phillips,
                    and Catherine Engelbrecht:
18
                        GREENBERG TRAURIG, LLP
19                     MR. JAKE EVANS
                       3333 Piedmont Road, NE, Suite 2500
20                     Atlanta, Georgia 30305
                        jake.evans@gtlaw.com
21
22
23
24
25


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1                   For the Defendants Dinesh D'Souza and D'Souza Media

                    and the Witness:

2

                        BUCHALTER

3                       MS. AMANDA HYLAND

                        MR. AUSTIN VINING

4                       3350 Riverwood Parkway, SE, Suite 1900

                        Atlanta, Georgia 30339

5                       avining@buchalter.com

                        ahyland@buchalter.com

6

7                   Also Present:

8                       Ben Jones, videographer

9

10

11

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1                     THE VIDEOGRAPHER:         Today's date is

2           October 22nd, 2024, and the time is 9:34 a.m.                 This will

3           be the videotaped deposition of Bruce Schooley.

4                     Will counsel please identify themselves for the I

5           record.

6                     MS. BALLIETT:       Quinn Balliett, counsel for the

7           plaintiff.

8                     MS. EGLE:     Danuta Egle, counsel for the

9           plaintiff.

10                    MS. HYLAND:      Amanda Hyland, counsel for

11          defendants D'Souza Media, Dinesh D'Souza, and the

12          deponent Bruce Schooley.

13                    MR. VINING:      Austin Vining, counsel for

14          defendants Dinesh D'Souza, D'Souza Media, LLC, and the

15          deponent Bruce Schooley.

16                    MR. EVANS:      And Jake Evans, counsel for True

17          the Vote, Catherine Engelbrecht, and Gregg Phillips.

18                    THE VIDEOGRAPHER:         Will the court reporter

19          please swear in the witness.

20

21                                    BRUCE SCHOOLEY,

22          called as a witness herein, having been first duly sworn

23          by the shorthand reporter to speak the truth and nothing

24          but the truth, was examined and testified as follows:

25          >> >


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                    MS. BALLIETT:       Okay.      Just one quick

       housekeeping thing I wanted to get on the record, which

       is that we had some exhibits marked in last week's

       depositions of Debbie and Dinesh D'Souza, and we do not

       have the stamped copies of those exhibits, so we're going

       to be re-marking them with the same exhibit number, and

       then after those exhibits, we will be starting at Exhibit

       No. 112.




                                       EXAMINATION

       BY MS. BALLIETT:

               Q     Okay.    Good morning, Mr. Schooley.

               A     Good morning.

               Q     Could you please state your full name for the

       record.

               A    Bruce Alan Schooley.

               Q     And what's your address?




               Q     Have you been deposed before?

               A    I have.

               Q     How many times?

               A     Once.

               Q     And what was the context?

               A    It was a dispute over the payment of royalty

       fees.       It was 35 to 40 years ago.


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1                   Q   Okay.

2                   A   It was very quick.

3                   Q   And do you understand that you are under oath

4           today?

5                   A   I do.

6                   Q   And your testimony here is the same weight as

7           testimony before a judge or a jury?

8                   A   I do.

9                   Q    Okay.   Is there any reason you might not be

10          able to give accurate testimony today?

11                  A    No.

12                  Q   Is there any reason your memory might be less

13          sharp than usual?

14                  A    No.

15                  Q   Okay.    I'm just going to set a few ground rules

16          for the rest of the day.           Everything we say is being

17          recorded and transcribed by the court reporter.                    For her

18          benefit, let's answer every question verbally.                   No

19          shaking your head and nodding your head and that sort of

20          thing.      And then let's try not to talk over each other so

21          she can get everything we are saying.

22                      If my question is unclear, please let me know.

23          And if you don't ask me to clarify my question, I'm going

24          to assume that you understand it.

25                      Is that okay?


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1                   A   Yes.

2                   Q   And I will plan for us to take a break every

3           hour or so, and we'll take a break for lunch as well

4           later, but if you need a break at any other time, just

5           let me know.       We can take a break as long as a question

6           is not pending.

7                       Throughout the deposition, your counsel may

8           object to certain of my questions.                Unless your counsel

9           specifically instructs you not to answer, you must still

10          answer my question.

11                      Okay?

12                  A   Okay.

13                  Q   Did you speak to anyone about the testimony you

14         expect to give at your deposition today?

15                  A   I spoke with Amanda and Austin.

16                  Q   Okay.    Yeah, and don't tell me the contents of

17          those --

18                  A   I will not.

19                  Q   -- communications.         But did you do anything to

20          prepare?

21                  A   I did.    I watched the film twice.            I watched

22          the teaser and the two versions of the trailer twice.                     I

23          read the depositions of Catherine and Gregg and Dinesh

24          and Debbie.       And I looked at documents yesterday with

25          Amanda and Austin.


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1                   Q   Okay.    And those documents were selected by

2           your counsel?

3                   A   Yes.

4                   Q   Okay.    Did you have any conversations with

5           Mr. or Mrs. D'Souza after their depositions, about their

6           depositions?

7                   A   I did.    I spoke with Dinesh, and he did not

8           talk about any content, but he did say -- he basically --

9           I listen -- I heard his deposition.               I said, I thought

10          you did a great job, and he said thanks.

11                  Q   Okay.    Were you asked to collect any documents

12          in connection with this litigation?

13                  A   Yes.

14                  Q   And what steps did you undertake to collect

15          those documents?

16                  A   That's a big question.

17                  Q   Well, let's start with, how many devices, for

18          example, did you use in the course of your work on 2000

19          Mules?

20                  A   I -- on my phone and my main computer.

21                  Q   Okay.

22                  A   So I have one computer that is a hundred

23          percent personal and one computer that is for business,

24          and those would be the homes of my documents.                  I really

25          don't have hard copies of things.


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1                   Q   Okay.    And you worked with counsel to collect

2           documents from both of those --

3                   A   I did.

4                   Q   -- your phone and your work computer?

5                   A   Yes, we did.

6                   Q   Okay.    And -- and what kind of communication

7           platforms did you usually use to talk about the film?

8           Was it e-mail?       Was it text messages?

9                   A   Text and e-mail.

10                  Q   Okay.    Any others?

11                  A   I mean, phone.

12                  Q   Yeah, okay.

13                      Could you please share with us your educational

14          background.

15                  A   I went to -- I graduated from high school; went

16          to two years of a community college.               I won a Rotary

17          Foundation scholarship, so I spent a year in New Zealand.

18          And then I came back, graduated from Cal State LA in

19          psychology.       I went to Fuller School of Psychology, which

20          is a graduate program, a Ph.D. program.                  It's a six-year

21          program.     I only stayed for four years.               I completed all

22          coursework, including experimental and statistics and

23          most of the therapy classes.

24                  Q   Okay.    And what do you do for a living?

25                  A   I quit graduate -- the graduate program because


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1           I had started a gift business that I did very well

2           immediately, and so I started -- we did gift products.

3           Then we moved to home products.              So I invented some

4           things, had them produced, sold them mostly through large

5           retailers like Sharper Image, Frontgate, Catalog, and

6           Costco and places like that.

7                       And then I eventually sold a patent to Balsam

8           Hill for a -- for one of my inventions and started

9           working with Dinesh in 2014 on with films.

10                  Q   Okay.    And how did you start to work with

11          Mr. D'Souza?

12                  A   Dinesh and I had been friends for a long time.

13          I met Dinesh -- my wife and I met Dinesh and his wife at

14          the time probably 30 years ago on a National Review

15          cruise.     My wife was very involved with National Review.

16          And Dinesh was a speaker, and we just hit it off.                   And he

17          and I like to talk about the same things, which are

18          generally more about things like philosophy and culture

19          than they are about the politics and news.

20                      So there's very few people actually are

21          interested in that, and he and I are both very interested

22          in that.

23                  Q   Okay.    So you said in 2014, you started to work

24          with him on filmmaking?

25                  A   I believe it was 2013/2014, yeah.


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1                   Q   Okay.

2                   A   So I was -- I was involved with him, some of

3           his books previously.

4                   Q   Okay.

5                   A   And I was also -- I was involved with his first

6           film but not officially.                                                    i

7                   Q   When did you become a partner in his company

8           D'Souza Media?

9                   A   I -- I believe it was 2014.

10                  Q   Okay.    And prior to that, if you did work with

11          him and you were paid, it was on a contract basis or --

12                  A   I don't think I was paid.

13                  Q   Okay.    And so what type of work do you do with

14          D'Souza Media?

15                  A   A producer.     That's my natural skill set.             So I

16          produce products, help to develop them, and then -- and

17          then organize them being made, and then usually passing

18          them off to a retailer or -- or somebody who markets

19          them.

20                  Q   Okay.    And so -- so the production work that

21          you do with D'Souza Media, is that just for the films or

22          do you also work on the podcast?

23                  A   No, no.

24                  Q   Okay.

25                  A   I mean, I think I might have done a little bit


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1           of like artwork or something for at the very beginning of

2           the podcast, but I don't -- I don't have anything to do

3           with the podcast.

4                   Q   Okay.

5                   A   And I -- I haven't from the beginning.

6                   Q   Okay.    And -- and so could you just describe a

7           little more, in more detail what the production process

8           is for the films.       Who -- for example, who selects the

9           topics for the films?

10                  A   That's also a big question.            The -- we

11          usually -- when we know we're gonna make a film, we

12          usually develop a sheet of all possible concepts, and

13          then we start narrowing it down with time.                 The ultimate

14          decision of what the film will be about is Dinesh's, and

15          the ultimate title decision is his.

16                      He makes the final decisions.            He's the

17          majority owner and the managing member of the company,

18          but I have -- but he and I have very honest and frank

19          discussions.      So I would not say that -- I mean, we're

20          both involved in that, but he -- he makes the decisions.

21                  Q   Okay.    And how many films have you made with

22          Mr. D'Souza as part of -- as a partner of D'Souza Media?

23          If you know.      If you don't, then you can just estimate.

24                  A   No, no, I know.       I'm just trying to figure out

25          when you say "you made," I didn't actually make America.

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1           So I'd say one -- I'm dyslexic, so it takes me time to

2           figure things out.        So I would say probably six.

3                   Q   Okay.    But has -- has D'Souza Media made more

4          films that you were not involved in making --

5                   A   I was not --

6                   Q   -- during that time?

7                   A   I was not involved in -- the answer to that is

8           yes.

9                   Q   Okay.    And that was just because you were doing

10          other things?

11                  A   Yeah.

12                  Q   Okay.    And when was the first time you heard of

13          True the Vote?

14                  A   Catherine Engelbrecht became somewhat famous in

15          conservative circles after her testimony in front of

16          Congress.    I don't know precisely the date, but I think

17         it was like 2012.

18                  Q   That sounds right, yeah.

19                  A   So I would have become aware of her immediately

20          after that.

21                  Q   Okay.    Did you -- did you meet her at that

22          time?

23                  A   No.

24                  Q   When was the first time you met her?

25                  A   We interviewed her for a film, and that was


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1           called -- I believe it was Trump Card, and that's when I

2           met her.    It was 2000 -- maybe I met her maybe in 2019,

3           2020.

4                   Q   Okay.    And after that interview, did you keep

5           in touch with her?

6                   A   No.

7                   Q   Okay.

8                   A   No.

9                   Q   And then after that, when was the next time you

10          spoke with her?

11                  A   For -- we met for a dinner in I think Dallas to

12          discuss some findings that they had with regards to voter

13          irregularity in the 2020 election.

14                  Q   Okay.    And when was that dinner?

15                  A   I think it was like September, October,

16          November of 2021.

17                  Q   Okay.    And when was the first time you heard of

18          OpSec?

19                  A   I do not know.       I do not recall that.          I do --

20          I met Gregg at that dinner, so he might have used that

21          name then.

22                  Q   Okay.    And --

23                  A   Names are tough when you're dyslexic.               You

24          don't associate names with...

25                  Q   Understandable, yeah.


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1                   A   Yeah.

2                   Q   Okay.    And then after -- so at that dinner,

3           could you just tell us a little bit more about what

4           information you learned or discussed?

5                   A   They had done -- I do -- I'm trying to be

6           honest in what I recall.            They had done research on

7           geo-tracking.

8                   Q   By -- by "we," you mean you and Mr. D'Souza?

9                   A   No, they had.

10                  Q   Oh, they had.        They had.          Okay.

11                  A   And I don't know if both of them had, but I do

12          know that the general conversation was that they had

13          research on geo-tracking as it relates to the 2020

14          election.

15                  Q   Okay.    And did they --

16                  A   And they -- they also said that they had

17          videos.

18                  Q   Okay.    But they didn't show you any videos at

19          that time?

20                  A   No.

21                  Q   Did they show you any geo-tracking data?

22                  A   No.    No.

23                  Q   Okay.    So it was just more of a discussion?

24                  A   Yes.

25                  Q   Okay.    And after that meeting, did you do


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1           anything to familiarize yourself with either OpSec or

2           TTV?

3                   A   I -- I had known who True the Vote -- I mean,

4           True the Vote is a fixture in the -- in the conservative

5           world and highly respected and mentioned often on radio

6           shows and things, and so I didn't really need to

7           familiarize myself that much more with her because I kind

8           of understood what her work was.

9                       I did not -- I don't think I did anything more

10          with regards to Gregg, because I didn't -- we hadn't

11          moved it along at that time.

12                  Q   Okay.    So at that time, you knew that Dinesh

13          and -- you and Dinesh were considering whether to work

14          with them to make a movie, but you hadn't made the

15          decision yet?

16                  A   Right.

17                  Q   Okay.    What about Salem Media?             When did you

18          first hear about Salem Media?

19                  A   Salem Media also is a fixture in the faith

20          community and conservative community.               I mean, they have

21          very well-known hosts on a lot of radio stations, so I

22          probably have heard about them off and on for more than a

23          decade, two decades.

24                  Q   When was the first time you worked with them?

25                  A   On this -- on this particular project.


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1                   Q   Okay.    And do you know how that came about?

2                   A   I think Dinesh called them or they -- they

3           called him.       I really don't recall.

4                   Q   Okay.    Do you know -- do you know why he

5           reached out to them?

6                   A   No.

7                   Q   Okay.    Was he looking for investors?

8                   A   I mean, I would be speculating, so I'm not

9           gonna do that.

10                  Q   Okay.    And do you know when Salem Media first

11          met Ms. Engelbrecht and Mr. Phillips?

12                  A   I believe -- I do not know for sure.

13                  Q   Okay.    Did you -- did you ever participate in a

14          meeting with the two of them and Salem Media?

15                  A   Yes.

16                  Q   And when was that?

17                  A   I think it was immediately following that

18          dinner or soon after.

19                  Q   Okay.

20                  A   And we -- we may -- we all met in Dallas.

21                  Q   And what was the substance of that meeting?

22                  A   Catherine and Gregg presented their research.

23          That was the first time I believe I -- I saw it.

24                  Q   Okay.    And -- and what -- what exactly did they

25          present?    Did they show videos, or what did they show


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1           visually?

2                   A   Gregg had some things on his laptop, and he

3           showed that.      I am not -- I think we had that -- I think

4          it was communicated to a larger screen, and he went

5           through that presentation.

6                   Q   Okay.    And was that information that he was

7           putting up on the screen related to a surveillance video

8           or geo-tracking or both?

9                   A   There was both.

10                  Q   Okay.    And did he show any surveillance videos?

11                  A   To the best of my recollection, I believe he

12          did.

13                  Q   Okay.

14                  A   I believe -- I mean, there was clips, I think.

15                  Q   Okay.    And then for the geo-tracking, what --

16          was it maps or?

17                  A   I remember he had maps with geo-tracking dots

18          on them.     I do not know if they were at that meeting.

19                  Q   Okay.    Okay.    And then after that meeting

20          concluded, do you know whether Salem made a decision to

21          make the movie with them or was there a period of time

22          when Salem had this under consideration?

23                  A   I do not recall.        Dinesh was the primary

24          contact with Salem.

25                  Q   Okay.    And at that point, do you think -- or do


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                                                                                       i
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1           you know whether Dinesh had made the decision to work

2           with them to make the movie, whether or not Salem would

3           be involved?

4                   A   Well, I think we had decided to work with Salem

5           on a film, and I think the issue was whether or not this

6           was the subject matter.

7                   Q   Okay.    And so do you remember when the decision

8           was made that you were gonna work with Salem and True the

9           Vote and OpSec to make this movie?

10                  A   I do not recall the exact time.

11                  Q   Okay.    Once the decision had been made to make

12          the movie that would become 2000 Mules, what was the

13         first step in the production process?

14                  A   There's a development phase where you try to

15          limit down the scope of what you could potentially do.

16          So we had this ongoing concept sheet, beat sheet of all

17          the different things we could possibly do, and then you

18          just start limiting it, and -- and you add things to it

19          because of new ideas and new things, and that's the

20          potential overall scope of the project.

21                  Q   Okay.

22                  A   And I think that what's we -- I mean, that's

23          the kind of thing I would be involved with in working on

24          early on.

25                  Q   Okay.    And we're gonna show Plaintiff's Exhibit


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1           No. 23, which is TTV 007191 through 7199.                 This has

2           already been marked.

3                        Take your time to review the document.

4                   A    Uh-huh.    Should I look at all of it?

5                   Q    I -- I can draw your attention to certain

6           portions, but if you need to look at more, you can let me

7           know.       Take any time you need.

8                   A    Because this will take me a while because I

9           read slow.

10                  Q    Okay.    Are you okay with me directing you to a

11          portion --

12                  A    Uh-huh.

13                  Q    -- to ask you about it?

14                       Okay.    Let's look at the page that ends in 195.

15          And at the top of that page, there's a bullet that says

16          4, and it says, "How about people who were approached but

17          declined?"      And it says, "Shouldn't we be able to find

18          someone in a tormented area that kept saying no to these

19          harvesters?       We're talking hundreds of thousands of

20          people" --

21                  A    Which point?      I'm sorry.

22                  Q    Sorry.    It's point 4 on the page that ends in

23          195.

24                  A    Okay.

25                  Q    And then you say, "We're talking hundreds of

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1           thousands of people approached.              Can't we find a few who

2           said no?"

3                   A   Let me -- I'm just gonna read this.               Okay?

4                   Q   Yeah, yeah, of course.           Go ahead.

5                   A   Okay.

6                   Q   Did -- did you ever research or hire anyone to

7           look into finding someone who was approached to

8           participate in a ballot harvesting scheme or a -- an

9           election fraud scheme and declined to participate and

10          wasn't willing to talk about it?

11                  A   We talk -- I know that we talked about it after

12          this, and people anecdotally would tell us that they had

13          known of people, and I do believe that.                  We also found

14          people who had been -- I -- I think the bottom line here

15          is, does this happen, right?            And we found people who had

16          been convicted of ballot harvesting, and so it became

17          obviously this is a real event, to me.

18                  Q   Okay.    And then let's go to the page that ends

19          in 198.     It's the second to last page.            And about halfway

20          down the page, there's a W.            There's a bullet that starts

21          with W, and then it says "REVEAL."

22                      Do you see that?

23                  A   Uh-huh.

24                  Q   And then it says, "Describe (1) data

25          collection," and "then (2) use the data to track mules


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1           from activist locations to drop boxes using data

2           graphics."

3                   A   Uh-huh.

4                   Q   Did -- did you end up doing that in the film?

5                   A   We took data from -- the answer is yes, I

6           believe we did.       We took data from Gregg, that he gave us

7           with regards to Atlanta, and we didn't actually use the

8           graphic that he did.        We rebuilt that graphic, but we

9           built -- rebuilt it on the -- on the information he gave

10          us.

11                  Q   Okay.    And -- and that route included what you

12          describe here as activist locations, and it used actual

13          data?

14                  A   To -- we got the -- we got that graphic from

15          Gregg, and -- and it was based -- to the best of our

16          understanding, it was based on real data.

17                  Q   Okay.    And then let's go to the -- just the

18          next page, and there's a -- a bullet, two little ii's.

19          It says, "What to sequestered?"              And then it says, "Top

20          of the list is the video, which is useful to dramatize

21          the evidence but is not essential to any legal

22          proceedings."

23                      What did you mean by that?

24                  A   I'm gonna have to read it.

25                  Q   Okay.


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1                   A   I have no idea.       I have to -- let me -- let me

2           see if I -- it will take me a minute.

3                   Q   No problem.

4                   A   Oh.   I mean, it was -- we -- I very much wanted

5           the video to be sequestered, meaning that we didn't want

6           them to share it to everybody and -- and leak it out

7           because it's very damaging, not only to the film to

8           release, but also you just lose control over the product,

9           I mean.

10                      What is useful to dramatize the evidence but is

11          not essential to any legal proceeding, I do not know what

12          I meant by that.

13                  Q   Okay.    And --

14                  A   So that would be -- I mean, it was drama -- it

15          was dramatizing the evidence of the geo-tracking, but

16          we -- at that point, I don't believe that -- I mean, we

17          never thought the video was the core legal -- the core

18          argument for the fundamental concept, the big picture

19          concept of the film.          The core concept was the

20          geo-tracking data.

21                      And then we were committed to use video that

22          was based upon the geo-tracking data, but it wasn't --

23          the video itself was -- was secondary to the geo-tracking

24          data.

25                      So at this stage when I wrote this, that's

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1           probably what I was thinking.

2                   Q     Okay.    And then just below that, you say, "We

3           need a couple of investigators to hit the street."

4                   A     Uh-huh.

5                   Q    "They could be on screen."

6                        And then you say, "There must be an army in

7           each of these cities that are concerned with what

8           happened.      Republicans in each city should know some of

9           them.       Isn't there a boat load of affidavits?               Let's find

10          them with help from local Republicans."

11                        What affidavits were you referring to?

12                  A     Well, at the time, this was after the 2020

13          election, and there were, from my reading, thousands of

14          affidavits that had been given up by people who were --

15          who had witnessed what they considered to be election

16          integrity violations.

17                  Q     Okay.

18                  A     Tens of thousands, and so that was that.

19                  Q    Okay.     Did you ever obtain any of those

20          affidavits?

21                  A     No.   We -- I mean, I didn't.           I don't know if

22          Gregg did or Dinesh did or anybody else did, but I

23          didn't.

24                  Q    Okay.     And so just to take a step back about

25          the film production process, could you list the members

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1           of the team who worked on the film production?

2                   A   It was Dinesh and Debbie, me, Nathan, and --

3                   Q   That's Mr. Nathan Frankowski?

4                   A   Nathan Frankowski, uh-huh.

5                       And then we'd hire camera, locations, cast

6           coordinators.       You know, it's a bunch of people to get a

7           film made.    But the core people are -- are Debbie,

8           Dinesh, Bruce, and Nathan.

9                   Q   Okay.

10                  A   And then in this situation, we had impact

11          input from -- some input on a limited basis from Salem

12          and from True the Vote.

13                  Q   Okay.

14                  A   Very limited.

15                  Q   And so what was Mr. Frankowski's role?

16                  A   He is a -- primarily a cinematographer.               He

17          works with me on cutting the film and putting it together

18          and getting the -- getting the footage produced and -- I

19          mean, graphics and sound.           He does -- he does a temporary

20          score before we hand it off to the composer.

21                  Q   Okay.    And was there anyone else that he worked

22          with on graphics?

23                  A   Frank Lamont, who owns a graphics company, and

24          he -- it's a very small team.             I think it's him and his

25          son and somebody else.
                                                                                       J

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 1                  Q   Okay.    And what was your understanding of the

 2          role that Ms. Engelbrecht and Mr. Phillips would have in

 3          the production of the film?

 4                  A   I mean, they -- they generated the initial

 5          primary research.       They were to provide videos based upon

 6          the research.       They were -- I mean, I'm looking -- I'm

 7          thinking of the contract they signed.               I mean, during the

 8          conversations and things, they would give us -- she would

 9          give us input or he would give us input on -- on

10          different ideas, but it was limited after they provided

11          the research and the -- and the video.

12                  Q   Okay.    And what's your understanding of the

13          relationship --

14                  A   Limited on my -- just let me be clear.               It was
     I
15          limited for me.

16                  Q   Okay.    Okay.    So who -- was there someone else

17 I        who was having more interaction with them?

18                  A   Dinesh and Debbie would have more interaction

19          with them.

20                  Q   Okay.    And when they provided the research,

21          what exactly did they provide?

22                  A   He gave us the results of his research, and it

23          was provide -- it was disclosed during the interview.                     I

24          asked him if he had the -- I mean, research is a big

25          thing, so I asked him if he had -- I mean, I may be


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1           trying to be -- I'm a little bit -- I'm trying to be like

2           a tad bit skeptical of this whole thing.                  I said, Do you

3           actually have the data?           He said, Yes, I keep it with me

4           all the time.       And so I said, Would you bring it, because

5           we want to show you taking it out of the car, truck.

6                       And it's in the film, have him doing it in the

7           film, where he puts it up on the table, and it's in two

8           massive boxes.       So I said, well, he has the data.

9                       And then, I think that's it.

10                  Q   Okay.    And so in those boxes, was it hard

11          drives or what --

12                  A   We didn't ask -- I didn't ask him to open it

13          up.


14                  Q   Okay.    And then when they provided their

15          research for use in the film, what format was it in?

16                  A   Are you speaking research clips or?

17                  Q   And both.     What about the geo-tracking

18          research, how -- how was that provided for use in the

19          film?

20                  A   That was -- that was disclosed in the interview

21          that we filmed.

22                  Q   Okay.    And what about the data itself that

23          was -- that was used?

24                  A   We would have -- we did not receive the data.

25          We would have no ability to deal with that much data.

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1                   Q   Okay.

2                   A   I just wanted to see that it existed.

3                   Q   Okay.     And -- and what about the surveillance

4           video, how was that provided to you?

5                   A   I believe the first grouping was sent to

6           Nathan.     I'm not exactly sure of the exact dates, but it

7           was a selection of -- I mean, and I saw in the deposition

8           Gregg said 70.        I think it was really more like 15 or 20

9           that were -- would be useable.              And I think that was -- I

10          think that group was a -- you'd have to ask Nathan.

11                  Q    Okay.    And when you say only 15 or 20 that were

12          useable, the other ones were not useable for what reason?

13                  A   It was just way too fuzzy.

14                  Q    Okay.

15                  A    Yeah.    So we -- we asked them, of course, to

16          give us video of mules that have been geo-tracked to the

17          criteria, and I was -- I asked several times if they

18          would -- we needed some that had been -- that showed

19          going to various loca -- more than one location.                   And

20          they sent us -- I remember this being in a folder called

21          Repeaters, and there were people who had been to more

22          than one location, but extremely fuzzy.

23                       So I think we used some of them in the film.

24          I'm quite sure we did, but they were -- they were at

25          night.      Poor quality camera.


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1                   Q   Okay.     And when -- when you were -- so -- so

2           sorry.      Other than True the Vote and OpSec, was there any

3           other research that was done for the film?

4                   A    During this time, the entire country was

5 I         talking about this.         So I don't know what your definition

6           of research is, but everybody was -- was obsessed with

7           these issues, and so it was like 20,000 people jointly

8           communicating about this all the time.

9                   Q   Okay.     And did you ever consider hiring

10          undercover journalists to obtain material for use in 2000

11          Mules?

12                  A    We did consider it, and then we didn't do it.

13          We were going to send them in to some of these activist

14          locations to see what we got, and we decided not to do

15          that.

16                  Q    After 2000 Mules, have you ever done that

17          since, hired undercover journalists to look into election

18          fraud?

19                  A    You'd have to -- I have not done that.               You

20          would have to speak with Dinesh and Debbie about that or

21          other people.

22                  Q    Okay.    Let's show          we're gonna show you

23          Plaintiff's Exhibit No. 89, which is Bates number

24          DDR-00018795.

25                       So just take your time to look over that.

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1                   A   Uh-huh.

2                   Q   Okay.    Do you recognize this document?

3                   A   I don't recognize it, but I am -- but I'm

4            on it, and I'm --

5                   Q   Okay.

6                   A   I recognize Ant W.

7                   Q   Okay.    And who is that?

8                   A   Tony.    I forget his last name.

9                   Q   Okay.    And --

10                  A   And Tiara.

11                  Q   And -- and who are they?

12                  A   Somebody -- you would have to ask Dinesh and

13          Debbie, but they are people that became involved in

14          undercover research to validate concepts behind 2000

15          Mules.

16                  Q   Okay.

17                  A   And this was after 2000 Mules, and they came

18          it was presented -- as far as I'm here, it was -- it was

19          something that we did not seek out but that was presented

20          to us.

21                  Q   Okay.    So it seems like this -- this first

22          e-mail in the bottom of the chain, which starts on the

23         first page and it goes to the second page, is from this

24          person named Tiara, and it says, "AAR and monthly

25          overview."


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1                       Do you know what that means?

2                   A   You would have to ask her or Dinesh and Debbie.

3                   Q   Okay.    And then she says, "Please see attached

4           monthly overview and transcript.              This month we had alot

5           of meetings but there was one in particular that stuck

6           out that we did a transcript for," and then she -- she

7           summarizes this meeting, which we don't need to get into.

8                       But what -- do you know when she said "we," who

9           is she talking about?         Is that her and Tony or?

10                  A   Uh-huh.

11                  Q   Okay.    And -- and then it looks like a couple

12         e-mails up, back on the first page, it says -- you

13          read -- you say, "Thanks Tiara!              I read through the

14          document.    Maybe we can talk through tomorrow afternoon."

15                      What -- do you -- do you recall what this

16          document was and why you wanted to talk about it?

17                  A   I don't -- I do not recall what the specific

18          document was, but they would send documents.                 You would

19          have to talk with Dinesh and Debbie about the specifics

20          of their relationship with -- of the contract -- I mean

21          what they had organized with them.                I -- I still don't

22          know fully what it is, but they set something up where

23          they would send reports.

24                  Q   Okay.

25                  A   And I received one of these reports.

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1                   Q   Okay.    And up, the second to the top e-mail,

2           Mrs. D'Souza says, "What are the chances of getting an

3           'actual mule' to come forward?             We would protect their

4           identity."

5                       So is she -- is she asking that because that's

6           part of what Tony and Tiara are being asked to do?

7                   A   You'd have to ask them.

8                   Q   Okay.    And in the top e-mail, Tony says, "Over

9           the coming weeks this will be my sole purpose.                  I

10          intend -- I intend to be in the field, across multiple

11          states, nearly every single day this month to make this

12          happen.     I believe it can be done....I believe it must be

13          done."

14                      Do you know who was paying Tony to work

15          full-time on finding what Ms. D'Souza describes as an

16          actual mule?

17                  A   Yes.

18                  Q   And -- and who was paying him?

19                  A   Dinesh and Debbie.

20                  Q   Okay.    And do you -- do you understand why they

21          were doing that?

22                  A   You'd have to ask them why they did that.

23                  Q   Okay.    Okay, so I'm gonna go back to the -- the

24          research in the film, and so it looks like -- let's --

25          let's mark -- we're gonna mark a new exhibit.                  It's gonna'


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1           be Plaintiff's Exhibit No. 112, and the Bates number is

2           TPNG-0001907.

3                       (Deposition Exhibit No. 112 was marked for

4           identification.)

5                   Q   BY MS. BALLIETT:         So you can look over this.

6           Take your time.

7                   A   Okay.

8                   Q    Okay.    So the       the first e-mail at the bottom

9           of this chain is an e-mail from someone named Nick Givas.

10          Is it Givas?

11                  A    Givas.

12                  Q    Givas, okay.      And he's e-mailing

13          Ms. Engelbrecht, and he says, "I was hoping I could get

14          your opinion on a movie assignment Bruce has me running

15          down."      And then he says, "Gregg said in this article

16          below, that y'all turned over evidence to the NRSC, but

17          no action was taken," and there's a link to a Gateway

18          Pundit article.

19                  A   I don't know what NRSC is.

20                  Q    Okay.    And then we don't have the article here,

21          but Catherine, Ms. Engelbrecht, responds to Nick, and she

22          says, "We didn't turn anything over to the NRSC.                   The

23          source was the informant in the movie.                Gateway may have

24          misconstrued the comment.            The emails showing the

25          informants activity, payment, etc have been provided to
                                                                                        J

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1           Dinesh.     I don't have them on hand but can get if

2           necessary."

3                       And then above that, it says -- Mr. Givas loops

4           you and Mr. D'Souza into the e-mail, and he says,

5           "Looping in Dinesh and Bruce here -- Only because I just

6           got off the phone with Bruce, and our team may need that

7           information you cited, to verify a specific part of the

8           film."

9                       Do you recall asking Mr. Givas to verify a

10          specific part of the film related to this Gateway Pundit

11          article?

12                  A   I do not.

13                  Q   Okay.    And this exchange is occurring on

14          April 29th, 2022.

15                  A   Uh-huh.

16                  Q   When was the movie released?

17                  A   About that time.         I mean, we were in -- like

18          two days after this.

19                  Q   Okay.

20                  A   But this -- the movie had already been

21          transmitted to theaters.

22                  Q   Okay.    But you were -- you were asking

23          Mr. Givas to track down a specific part of the film and

24          you're -- do you have any recollection of why?

25                  A   No, I'd have to think about -- I'd have to read


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 1          this and actually digest it.

 2                  Q   Okay.

 3                  A   So I'd have to have more context, like what's

 4          the Gateway article?        I have to have a lot of context to

 5          understand things.

 6                  Q   Okay.    So just -- I just have one more

 7          question, and it's okay if you don't recall, but when

 8          Ms. Engelbrecht says -- she refers to e-mails showing an

 9          informant's activity, payment, et cetera, do you ever

10          recall seeing any e-mails that were provided to you in

11 ,        relation to this?

12                  A   Can you talk slower?

13                  Q   Sorry.

14                      So she says the e-mails -- she refers to

15         e-mails showing the informant's activity, payment, et

16          cetera.

17                  A   Uh-huh.

18                  Q   Do you ever recall seeing e-mails showing an

19          informant's payment, activity, et cetera?

20                  A   No.

21                  Q   Okay.    And so did Mr. Givas do other research

22          for the film for you?

23                  A   We hired him to do general research, but that

24          evolved into him pulling clips and doing other things.

25                  Q   Okay.    So was he working full-time on the film?


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1                   A   No.

2                   Q   Okay.

3                   A   He was working some amount of hours.                I think

4           we paid him $7,000 a month or something.

5                   Q   Okay.    Okay.

6                       I think that's it.          That's it for that

7           document.

8                       So Mr. -- Mr. Givas, he -- you said he was

9           pulling clips and doing other things.                So what do you

10          mean by "pulling clips"?

11                  A   We use a lot of -- of fair use news clips in

12          the film, and it takes a tremendous amount of effort to

13         find them and put them in someplace where Nathan and I

14          can look at them and get them in the film.                  So all the

15          newsy kinds of stuff.

16                  Q   Oh, okay.     Okay.      So he was collecting news

17          clips for the film?

18                  A   Yeah, nothing -- nothing that had to do with

19          mules.

20                  Q   Okay.    Okay.     So he didn't work with the

21          surveillance video at all?

22                  A   Huh-uh.

23                  Q   Okay.

24                  A   No.

25                  Q   So let's talk about the surveillance video a


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1           bit more.     And I recall you said that you received one

2           batch of surveillance video that Mr. Phillips described

3           as being about 70 videos, but you said only 15 or 20 of

4           them were useable, correct?

5                   A   As far as my recollection.

6                   Q   Okay.    And did you ask for any more videos

7           after that?

8                   A   Constantly.

9                   Q   Okay.    And how many times -- I mean, did they

10         ever provide you with more videos?

11                  A   Yes.

12                  Q   How many times do you recall that they --

13                  A   I believe we got --

14                  Q   -- provided you?

15                  A   I believe we got one more batch towards the end

16          of March.

17                  Q   Okay.    So they only provided you with videos

18          twice?

19                  A   Yes.

20                  Q   Okay.

21                  A   That's my belief.

22                  Q   Okay.    And when you received videos from them,

23          what was your understanding of the criteria that were

24          used to choose those videos?

25                  A   They were videos of mules, and the criteria was


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1           criteria that explicitly laid out in the film, which is

2           they had gone to drop boxes, not different drop boxes,

3           but drop boxes ten times, and they had gone to five

4           locations that -- specific locations that it appeared to

5           be they would go to drop boxes, and then they would go to

6           a particular location, and then back to a drop box, and

7           then back to a particular location, and those were

8           considered to be activist centers or places where they

9           were picking up ballots.

10                  Q   Okay.    And so it was your understanding that

11          everyone who had been -- who was in the surveillance

12          videos provided to you had been geo-tracked --

13                  A   Absolutely.

14                  Q    -- and met this criteria?

15                  A    We -- I mean, we had no need -- we had no -- it

16          would have been easy for us to get a video of just

17          anybody doing this.        I mean, we could shoot it.            You

18          could get it off the Internet.             You could -- you could

19          use fair use.       You could license it from Pond5.             You

20          could license it from Getty.

21                      I mean, we were holding out for video of mules

22          that satisfied the criteria because that was the core

23          concept of that block of the film that dealt with those

24          mules.      Otherwise, it's the easiest thing in the world to

25          get around that, but we didn't.

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1                   Q    Okay.     And was it your understanding that TTV

2           or OpSec knew who these people were in the videos?

3                   A     No.   We knew that they didn't know who they

4           were.

5                   Q     Okay.    Were gonna mark a new exhibit,

6           Plaintiff's Exhibit No. 113.              The Bates number is

7           DDR-00020015.

8                        MR. EVANS:      What was the number you said?

9                        MS. BALLIETT:       The -- the Exhibit --

10                       MS. HYLAND:      113.

11                       MS. BALLIETT:       -- 113.

12                       MR. EVANS:      113?

13                       MS. BALLIETT:       Yeah.

14                        THE WITNESS:      It's not that we knew that they

15          didn't know.        We had -- we were never told that they

16          knew.       I do not -- I do not -- that was not the thing

17          that we were doing, was identifying people.                   So we never

18          talked about it.         It was just -- it was just not a thing.

19                        (Deposition Exhibit No. 113 was marked for

20          identification.)

21                  Q    BY MS. BALLIETT:         And then, yeah, if you could

22          take your time

23                  A     We didn't know

24                  Q    -- to look at that.

25                  A     Yeah, we did not know who these people were.


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1                   Q     Okay.

2                   A    I mean, we -- we knew that they were people who

3           had gone to multiple places.              I do not know one name of

4           these people.

5                   Q     Okay.    So in your e-mail to Mr. -- Mr.

6           Frankowski, you say -- when you say, "We know who these

7           people are and video shows them dropping handfuls of

8           ballots into boxes" --

9                   A     We know --

10                  Q        what did you mean by --

11                  A     We know that these people are mules.

12                  Q     Okay.

13                  A     Yeah.    I mean, The New York Times article, two

14          reporters got 10,000 -- 100,000 bits of cell phone data,

15          and they were able to, using the Internet, find out who

16          these people were.

17                        We never had any interest in doing that, like

18          zero.       I had no interest in knowing who any of these

19          people were, and we didn't do anything to find out who

20          they were.

21                  Q     Okay.    Whose job was it to select the

22          surveillance video clips that were gonna be used in the

23          film?

24                  A    It was very, very limited, so we used almost

25          all of them that were useable.               But that would -- that


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1           would have been primarily Nathan, and also me.

2                   Q   Okay.    And so what criteria did you base your

3           decisions about which clips to use on?

4                   A   Any ones that were -- that you could tell what

5           the hell they were doing, of what the people were doing.

6           I mean, some of them were so fuzzy and stuff you couldn't'

7           see anything.

8                       But so the -- the more you could -- you could

9           understand what they were doing by watching it,

10          especially ones where they were dumping in multiple

11          ballots, that's why we used them.

12                      THE REPORTER:      That's what?

13                      THE WITNESS:      We used those.        That's why we

14          used those.       We used basically everything that they sent

15          us that was useable.

16                  Q   BY MS. BALLIETT:        Okay.     And -- and so when

17          they sent you that first batch, you took everything that

18          was useable from it and put it into a movie?

19                  A   You would have to ask Nathan.

20                  Q   Okay.    Did you re-create any surveillance video

21          for the film?

22                  A   Yes.

23                  Q   And why did you do that?

24                  A   Because we needed more video, but also it

25          was -- we needed -- we needed like a theme guy, a theme


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1           mule, a theme -- you know, something that we could show

2           on the poster; we could show on the -- going -- in film

3           it's called glue.        You know, it's glue.             If you come back

4           to him every now and then people recognize him, and it

5           just helps people to make sense of what you are saying.

6                   Q   Okay.    And then we're gonna show Plaintiff's

7           Exhibit No. 77, which is DDR-00059468.

8                       Take your time to look at that.

9                   A   Okay.

10                  Q   Okay, so I'm going to direct your attention to

11          the second to last page.           The Bates number ends in 471.

12          And the first text on the page is actually --

13                  A   I'm sorry, which one?

14                  Q   The one that ends in 471.

15                  A   Oh, yeah.

16                  Q   And the first text, you have to go to the prior

17          page just to see that it's you who is writing it.

18                  A   Uh-huh.

19                  Q   And you say, "We will release on world with

20          this trailer.       We just need to limit.           Is there one where

21          we see more than one ballot and he returns to take

22          photo?"     And then Mr. Frankowski responds, "I didn't see

23          anyone return to take pic.            But yes, there are multi

24          ballot drops."       And then you say, "Great."              And he says,

25         "They just take a selfie."


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1                        Did you understand taking a selfie to be

2           evidence of an election fraud scheme?

3                   A     No, I don't -- I don't think that that's

4           evidence of election fraud.

5                   Q     Okay.    And then he says -- you say, "That

6           works.      Any hoodies?      Something easy to copy in Houston?"

7                   A     Uh-huh.

8                   Q    And then Mr. Frankowski says, "Gregg e-mailed a

9           clip."      And then you say, "Where -- where we see drop

10          box."       And then Ms. -- Mrs. D'Souza says, "I think one of

11          those -- one of the mules in Georgia was wearing a black

12          hoodie."      And Mr. Frankowski says, "It's a gray hoodie

13          and not pulled up."          And then he says, "Nobody looks like

14          they are trying to conceal their ID."                 And then

15          Mrs. D'Souza says, "Did you see the black hoodie guy?"

16                        So if Mr. Frankowski says that it looks like

17          people are not trying to conceal their identity, so in

18          and if the hoodie was not pulled up, why -- why were you

19          guys looking for surveillance video people wearing

20          hoodies?

21                  A    It was very -- there were -- there were many

22          of -- we have clips of in this batch of people wearing

23          black hoodies over their face concealed.                   So just because

24          he says that doesn't mean that's necessarily the case.

25                  Q    Okay.


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1                   A   Like if he says they -- they -- he has no

2           evidence of anybody taking a selfie, it doesn't mean that

3           we don't have, in this group of people, people taking

4           pictures of the ballot without -- and it's not a selfie.

5           We do have -- we did have that.

6                   Q   Okay.    At this point when you guys are having

7           this conversation, had -- do you think Mr. Frankowski had

8           had a chance to look at the videos yet?

9                   A   I do not know if he saw all of them.

10                  Q   Okay.    Had -- had you looked at the videos

11                  A   No.

12                  Q   -- at this point?

13                      Okay.    All right.       That's it for this document.

14          And I think we can take a break.              We've been going for

15          about an hour.

16                      THE VIDEOGRAPHER:         The time is 10:37 a.m.         We

17          are off the record.

18                      (The deposition was at recess from 10:37 a.m.

19          to 10:55 a.m.)

20                      THE VIDEOGRAPHER:         The time is 10:55 a.m.         We

21          are back on record.

22                  Q   BY MS. BALLIETT:        Okay.     Mr. Schooley, what was

23          the timeline for the production of the movie?                  When did

24          you initially plan to release it?

25                  A   I need to correct something from my previous


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1           testimony.

2                   Q    Okay.

3                   A    Can I do that now?

4                   Q    Yeah, go ahead.

5                   A   I -- I did not -- I said at five drop boxes and

6           five locations.        I meant ten drop boxes and five

7           locations.
                                                                                         i
8                   Q    And that's --

9                   A    And I never --

10                  Q   -- the criteria that was used?

11                  A    And I never ever thought it was five drop

12          boxes.      I always thought it was ten.

13                  Q    Okay.    And that's the criteria that --

14                  A   I misspoke.

15                  Q    -- you were describing to me earlier, correct?

16                  A    Yes, yes.     So I apologize for that.

17                  Q    Okay.    Thank you.

18                       So -- so what was the -- what was the timeline

19          for the production of the movie?

20                  A   I mean, we started organizing the shoot in

21          Houston probably around the 10th of January.                   It's

22          complicated to do but not unusual.                  We shot for two days

23          in Houston, I believe like the 27th, 28th, 29th.                    And

24          then we went to Thousand Oaks, a couple days of travel,

25          and then we shot one day in Thousand Oaks with the Salem


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1           host.

2                       So the primary subject matter in Houston was

3           the interview of -- of Gregg and Catherine and also

4          B-roll of Gregg and Catherine.

5                       And then in Houston -- and then with Thousand

6           Oaks, the primary subject matter was the -- the Salem

7           ones, and Dinesh interviewing them and Catherine and

8           Gregg presenting their data to them.

9                   Q   Okay.    And were there any other days of filming

10          other than the days in Houston and the days in Thousand

11          Oaks?

12                  A   We shot the footage of the -- what we consider

13          B-roll, a B-roll of the -- of our mule in Houston, I

14          believe on that day, and on one or two other days.                   And

15          we also shot Debbie and Dinesh in a locations house, and

16          we did it during that time.            And I do not know if we shot,

17          one of the interviews at that time or later with Hans

18          from Heritage.

19                      And then there was another shoot that I didn't

20          go to in Washington, D.C. at Capital Research.

21                  Q   Okay.    And what -- what is the difference

22          between a regular film trailer and a teaser trailer?

23                  A   Teaser you put together at the very, very

24          beginning, and it often -- it shows the flavor of the

25         film, the basic content of the film, if you have it


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1           defined at that point, the premise of the film, and

2           possibly when you plan on releasing it.                  And you do it

3           for investors, but also to start getting public interest

4           up if you -- if you actually release it.

5                   Q   Okay.    And sometimes you don't release a teaser

6           for a film?

7                   A   Right.    Yes.

8                   Q   Okay.    And so at this point in -- when you are

9           starting to talk about filming, I think you said

10          January 10th around was when you started to plan.                    When

11          were you planning to release the film at that point?

12                  A   We didn't know at that point.

13                  Q   Okay.

14                  A   So we were thinking hopefully by summer.

15                  Q   Okay.    We are going to look at Plaintiff's

16          Exhibit No. 76, which is DDR-00020011.

17                      And then take your time to look at this.

18                  A   Okay.

19                  Q   So we're gonna look at the first page, and

20          there's an e-mail from Mr. D'Souza, second from the

21          bottom.     It says, "One important addition is we need to

22          do a trailer ASAP."        And then he says, "We can release

23          two mule videos as the bombshell aspect of the trailer.

24          If these go viral as they will if we release them first

25          it will promote the movie like nothing else can."


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1                       And then you respond, "A 60 second teaser

2           trailer with mule drops and the geotracking graphics

3           should be pretty straightforward."

4                       Mr. D'Souza responds, "We don't even need

5           Catherine and Gregg for the trailer.               We can start on it

6           NOW."

7                       And then you respond here at the top, "We need

8           their video and their geotracking graphics which means

9           working with the graphics guy they used or we will need

10          to recreate it with someone like Frank."

11                      Is that Frank Lamont?

12                  A   Yep.    Yes.

13                  Q   And do you recall who the graphics guy they

14          used is?

15                  A   No.

16                  Q   Did you ever interact with that person?

17                  A   I was trying to remember that, and I don't -- I

18          do not believe I ever interacted with him.

19                  Q   Okay.    Did you ever ask Mr. Phillips or

20          Ms. Engelbrecht directly to provide you with geo-tracking

21          graphics?

22                  A   I might have.

23                  Q   Okay.    And do you recall whether they were

24          provided to you?

25                  A   I do not recall that.


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1                   Q   Okay.

2                   A   I do know that -- I mean, there was some -- he

3           had some geo-traffic (sic) maps with dots on them, and I

4           remember they were -- because it's in our film.                  He's

5           looking at his computer, and you can see what he is

6           looking at.       And he had that, but I just remember them

7           being extremely fuzzy, low res, and unusable.

8                   Q   Okay.    And -- and when you say geo-tracking

9           maps, was it your understanding that those maps were

10          were based on actual data of cell phone pings of people

11          that he had tracked to -- going to five drop boxes?

12                  A   I believe that --

13                  Q   Or ten drop boxes and ten...

14                  A   I believe his were, yes, based upon pings.                 I

15          don't know if I thought they were -- I think they were

16          based upon pings.

17                  Q   Okay.    And so using those pings over time

18                  A   Right.

19                  Q   -- he put the dot in different places at

20          different times --

21                  A   Yeah.

22                  Q   -- and he created a map?

23                  A   I don't think -- I don't think those maps

24          showed that -- a duration of time.                I think they showed

25          pings.


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1                   Q   Okay.    So they just showed where the dot was at

2           different times?

3                   A   Yeah.

4                   Q   But they didn't show what time --

5                   A   My understanding --

6                   Q   -- the dot took place?

7                   A   -- yes.

8                   Q   Okay.    And how -- when -- when you were working

9           with True the Vote and OpSec and/or Ms. Engelbrecht and

10          Mr. Phillips in their individual capacities, who was the

11          main point of contact in the film production team to

12          obtain the research from them?

13                  A   What do you mean "obtain the research from

14          them"?

15                  Q   In other words, who was the person making the

16          request to them, hey, could you please provide us with --

17                  A   We asked them on several occasions -- I asked

18          Dinesh to ask them on several occasions, and I think I

19          might have asked maybe once.            I didn't have -- I didn't

20          much contact with them -- that we needed more video.                      The

21          research was presented to us in the interview.

22                  Q   Okay.

23                  A   Again, we had no capacity to take that amount

24          of data and to analyze it to confirm the research.

25                  Q   Okay.    And so what material ended up in the

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1           teaser trailer?

2                   A   It was very brief.         We started with a -- I

3           think somebody from congress saying this is the most fair

4           and honest election in the history of American politics,

5           and we -- we played with that a little bit, from my

6           recollection.       And then Dinesh presents the fact that we

7           have new evidence.

8                       I do not know if we did the satellite flyover

9           for that.     I think we might have.              I think we showed one

10          or two mules that were based on the evidence, and -- and

11          then the logo at the end.

12                  Q   And that was True the Vote's logo?

13                  A   The title of the film.

14                  Q   Of the title of the film, okay.

15                      Do you recall whether the teaser or trailer had

16          True the Vote's logo in it?

17                  A   I do not recall, but I do think we said, "In

18          association with True the Vote and Salem."

19                  Q   Okay.    And how did you plan to release the

20          teaser trailer?

21                  A   Dinesh makes those decisions.             I don't know if

22          he put it on social media.            I don't know what he did with

23          it.

24                  Q   Okay.    We are going to mark a new exhibit,

25          Plaintiff's Exhibit No. 114.            The Bates number is


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1           DDR-00021419.

2                       (Deposition Exhibit No. 114 was marked for

3           identification.)

4                       THE WITNESS:      Okay.

5                   Q   BY MS. BALLIETT:        So the bottom e-mail in the

6           chain on the second page, it's an e-mail from

7           Mr. Frankowski to you and Mr. and Mrs. D'Souza and

8           someone named Bryan Miller.

9                       Who is Bryan Miller?

10                  A   Bryan, yeah.

11                  Q   Sorry?

12                  A   Bryan.

13                  Q   Bryan Miller?

14                  A   Yeah.

15                  Q   Who is that?

16                  A   He's our composer.

17                  Q   Okay.    Okay.

18                      So Mr. Frankowski says, "Here is the link you

19          can send to Tucker."

20                      Is that Tucker Carlson?

21                  A   I believe it would be.

22                  Q   Okay.    And -- and so this is -- the subject

23          line is the "Final teaser."            So it -- it appears that the

24          final teaser trailer was going to be sent to Tucker

25          Carlson.

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1                        And then at the -- the next e-mail up, it's

2           kind of difficult to tell who you are sending it to, but

3           from the e-mail above that, it looks like you are sending

4          it to Frank Lamont.          And you say, "We have an emergency.

5           We need to get trailer out tonight but owner of Salem

6           Media wants us to take their name off.                Can you fix and

7           resend us a link?"

8                        Do you recall why the owner of Salem Media

9           wanted their name taken off the teaser trailer?

10                  A    Somebody had released the teaser at some event

11          un -- unbeknownst to us at some event, and the leadership

12          of Salem didn't like the fact that it had been released.

13          And they at first wanted the trailer -- their name taken

14          off of it, and then they decided no.

15                  Q    Okay.    And do you know at what point they

16          decided that they were okay with their name being on the

17          teaser trailer?

18                  A    I really don't.       Dinesh is the one that spoke

19          with them mostly about it.

20                  Q    Okay.

21                  A    I mean, he was the one that had more

22          interaction with them on that, on things like that.

23                  Q    Okay.    And then at the -- the final e-mail at

24          the top, it looks like you are sending this to Brandon

25          Gill.       Who is Brandon Gill?

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1                   A   He is Dinesh's son-in-law.            He married Dinesh's

2           daughter.

3                   Q   Do you recall why you were sending him this

4           e-mail chain?

5                   A   Because he -- he's a -- he's a dear friend of

6           mine, and he's involved with -- I mean, he's -- let me

7           see if I can remember specifically why I would send him

8           this thing.

9                       I mean, he might be -- he would be -- he would

10          be quite a -- he's a member of our sequestered, highly

11          confidential team, but he's not an official member, and

12          but he looks at -- he likes to be involved somewhat in

13          looking at things, and I probably sent it to him to see

14          what he thinks of it.

15                  Q   Was Mr. Gill involved in the production of the

16          film at all?

17                  A   No.   Zero.

18                  Q   Okay.    So he was involved in something, I mean,

19          or he wanted to see this --

20                  A   Yeah.

21                  Q   -- for some reason?

22                  A   Yeah.    I mean, he's the -- he and Danielle are

23          Dinesh's family, so he might wanna -- they would be

24          interested in what Dinesh is doing.

25                  Q   Okay.    All right.


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1                   A   A family member.

2                   Q   And -- and did -- did they have, to your

3           knowledge, any interaction with TTV or OpSec?

4                   A   I don't believe they had any, other than when

5           Danielle was involved in organizing the Mar-a-Lago

6           premier, and they had to find -- they had to come up with

7           a guest list.

8                   Q   Okay.    So she would have worked with

9           Ms. Engelbrecht and Mr. Phillips on that?

10                  A   Yes.    I -- you have to ask her, but I would

11          think in order for them to get people invited to

12          Mar-a-Lago, she'd have to talk with somebody.

13                  Q   Okay.    And what -- what was your understanding

14          of the relationship between True the Vote and OpSec?

15                  A   True the Vote was primarily run by Catherine

16          Engelbrecht, and OpSec was primarily run by Gregg

17          Phillips, and they worked together on issues relating to

18          voter integrity.

19                  Q   Okay.    And so the -- the geo-tracking research

20          that was conducted, was that done by OpSec or True the

21          Vote?

22                  A   I understood that to be part of Gregg's team,

23          so if it was Op -- I may refer to it as team, so that if

24          his team is OpSec or whatever professional people he

25          hires or himself or vendors that he used, it was him.


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1                   Q   Okay.    Do you -- do you recall any of the

2           vendors that he used?

3                   A   No.

4                   Q   Did you ever interact with anyone on his team

5           other than him?

6                   A   No.

7                   Q   Okay.    Did you feel after receiving and

8           reviewing the first batch of videos that -- that True the

9           Vote and OpSec had provided you with enough material for

10          the movie?

11                  A   No.

12                  Q   And why was that?

13                  A   We needed more videos and -- we just needed

14          more videos.      It's a movie.        It's 100 minutes.        You know,

15          we needed more videos.

16                  Q   Okay.

17                  A   So we always wanted more videos.

18                  Q   And let's -- let's look --

19                  A   To support the underlying research.

20                  Q   Okay.    Correct.

21                      So you      you felt that the sur              that you

22          needed more surveillance video to support the underlying

23          research?

24                  A   We needed more videos, surveillance videos,

25          mules, that fit the criteria that we could put in the


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1          film.

2                   Q   Okay.

3                   A   The more the better.

4                   Q   Okay.    We're gonna mark a new exhibit,

5           Plaintiff's Exhibit No. 115, I think we're at.

6                       MS. EGLE:     115, correct.

7                       THE WITNESS:       This is 14.

8                       MS. BALLIETT:       Yeah, okay.        So 115.    This is

9           Bates number TPNF-0004925.

10                      (Deposition Exhibit No. 115 was marked for

11          identification.)

12                      THE WITNESS:       Agreed.      Yeah.

13                  Q   BY MS. BALLIETT:         Okay.     And this is an e-mail

14          chain between you and Mr. and Mrs. D'Souza and

15          Mr. Frankowski, it looks like?

16                  A   Uh-huh.

17                  Q   And you e-mailed them and you say, "We need our

18          best evidence of illegal ballot harvesting...then we can

19          go to graphics that makes this evidence explicit.

20                      "We need a phone call with Catherine and Gregg

21          to see what they've got to SHOW multiple drops and

22          multiple ballots and out of state mules.

23                      "I don't think one person dropping off what

24          looks like one or two ballots off does it.                  It doesn't

25          convince me and I want it to be true."
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1                         What did you mean by that?

2                   A    About what part?

3                   Q    About the, "It doesn't convince me and I want

4           it to be true."

5                   A    I wanted it to be true that there was -- that

6           the reason why -- I wanted it to be true that there was

7           some -- many people thought there was something about the

8           election that was fraudulent, and so, I mean, that's --

9           and they had come up with all these basic theories about

10          these machines and all that stuff, and none of that

11          convinced me.

12                       But I wanted it -- I wanted it to be true that

13          the reason why he lost is because of fraud, but I don't

14          want it -- but if it's not fraud, I would not -- I

15          don't -- I wouldn't distort the truth for that.

16                        So like if golden plates dropped onto the

17          Supreme Court tomorrow and they said, the accuracy of

18          2020 election was 99.9 percent, I'd say, fine, great.

19          Now we have the responsibility of convincing people the

20          message and we can get off of all this other stuff.

21                       But it just seemed really, really messy at the

22          time.       And I'm not the only one.         About 60, 70 percent of

23          Americans still believe that.             So that's -- that's what

24          that meant, and I -- but I wasn't convinced from what I

25          saw.

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 1                  Q   Okay.    And that what you -- by what you saw,

 2          you mean the first batch of videos that they sent you?

 3                  A   Yes.    And you have to remember this is 1/10.

 4                  Q   Yeah.

 5                  A   So this is very early on.

 6                  Q   Right, right.

 7                  A   And I had just started thinking about this in a

 8          really serious way, and also doing -- you know, Googling

 9         it on the Internet, finding out what other people were

10          saying.     At this point I wasn't convinced, and I wasn't

11          convinced visually.        So I believed that their

12 I        geo-tracking evidence was right.              I just wasn't visually

13          convinced by two or three people popping up.

14                      And I had heard from them that it was difficult

15          getting the videos, and then we had three or four

16          conversations about how -- later on in the month about

17          how they had tried to get more and more videos, and these

18          states hadn't done it, which is highly suspicious.                   And

19          they couldn't get the videos, not for lack of trying.

20                      And so that's all kind of taken into the

21          calculus of why are there not more videos of this and why

22          are there not more people?

23                  Q   Okay.    And did you          did you ever feel like

24          you had enough surveillance at any point when you were

25          making the movie?       Were you ever satisfied with the

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1           videos that you had?

2                   A   I'm a filmmaker, so I always want more and more

3           and more.     So you are never -- you're never happy on any

4           film with anything.        Well, not happy happy.           You do the

5           best you can.       But again, we did not base this on the

6           surveillance videos.         We based it on the -- on the

7           geo-tracking.

8                   Q   Okay.    And then at the top of this e-mail,

9           Mrs. D'Souza says, "You have their e-mail, correct?                    Why

10          don't you compose an e-mail asking this very question."

11                      Do you remember sending that e-mail?

12                  A   Huh-uh.    I don't remember that.

13                  Q   Okay.    We're gonna look at Plaintiff's Exhibit

14          No. 40, which is Bates number TTV 002 -- sorry, 7209.

15                  A   Yeah.

16                  Q   So is this the e-mail that you wrote in

17          response to Mrs. D'Souza's suggestion that you e-mailed

18          in the --

19                  A   In all likelihood, yes.

20                  Q   Okay.    Okay.

21                      And then you say, "Do you have video of

22          multiple drops by same person (and/or) multiple ballots

23          (and/or) evidence they are out of state."

24                      And Ms. Engelbrecht responds, "Videos are

25          sorted in folders by type.            Look in the repeater and


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1           multiple ballots folders.

2                       "We are glad to talk through the videos with

3           you and what to look for."            And then she says, "It would

4           be helpful to see the script outline.               Let us know when

5           you can connect on a call."

6                       Did you have a script outline?

7                   A   No, documentaries almost never have scripts.

8                   Q   Okay.    Okay.    And -- and so when you produce

9           movies, you don't have a script but you have what -- the

10          beat sheet instead.        Is that sort of?

11                  A   Yeah.

12                  Q   Okay.    And then Ms. Engelbrecht says, "Let us

13          know when you can connect on a call."

14                      Do you remember having a call with her about

15          this?

16                  A   We must have, but I don't remember the call.

17                  Q   Okay.    Do you remember any calls with her in

18          which you discussed what you needed?

19                  A   I remember -- I do remember we talked about

20          this one particular point, that we needed more video, and

21          we talked about it several times.

22                  Q   Okay.

23                  A   I don't remember specific calls, but I do

24          remember this was a theme.            I'd be not being honest if I

25          didn't say this was -- this was -- this was a theme.


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1                   Q   Okay.    And when you mentioned just now that --

2           that in documentaries, you don't usually do script

3           outlines, what -- what defines a documentary?

4                   A   You don't do script outlines -- to answer that

5           part of that, you don't do the script outlines because

6           you don't know what somebody is going to say in an

7           interview.     You don't know where the documentary is

8           going.      You never know the end of a documentary until you

9           get it all together, if -- if you are doing interviews

10          and things like that, which we were.

11                      A documentary is a film that's based on the

12          best research you can get, and it is a visual

13          representation, music.         Sometimes you do reenactments

14          which pushes -- pushes things into you must do

15          reenactments.       If you are doing a documentary on Caesar,

16          I mean, statues of Caesar gets a little old, right?                    So

17          you have to -- it's very, very seldom that they don't use

18          some form of reenactment in a documentary.

19                      I hesitate to say docudrama because it sounds

20          like it's made out of realism.             What you do is you -- you

21          don't drama -- in some ways you dramatize, but you -- you

22          reenact to the best of your ability the events that took

23          place that you are talking about.

24                  Q   Okay.    So the difference

25                  A   And -- and we are filmmakers; we are not


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1           research experts.       So you do rely upon people.             I mean,

2           people are -- documentarians rely upon other people.                      We

3           don't pretend not to rely upon other people.                 That's the

4           whole point of it.        That's why you have interviews, and

5           that's why you bring in other information and stuff.

6                   Q   Okay.    So what would you say the difference is

7           between a docudrama and a documentary?

8                   A   People have said -- start using the word

9           docudrama because everyone admits the fact that they have

10          to dramatize some of it -- some of it to become relevant

11         for the reasons I just said.             Some of it to be visually

12          interesting for the reasons I just said.                 But to me, it's

13          a distortion.

14                      It's very rare to find a documentary that is

15          absolute period piece.         Maybe Ken Burns Civil War.            I

16          mean, it's a rare event, almost doesn't exist.

17                  Q   Okay.    Thank you.

18                  A   People understand that.           So like if you are

19          looking at -- if you are looking at a documentary, people

20          know that we didn't have a film crew on the International

21          Space Station shooting in real time a satellite flying

22          over the United States collecting pings, and the pings

23          didn't magically create little circles, graphic visual

24          circles with little noises.            People get it.       And they

25          know that that's just a -- that's a visual reenactment of


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 1          satellite -- satellites gathering information.

 2                  Q    Okay.    Thank you.

 3                       So you mentioned that you -- you asked OpSec

 4          and True the Vote more than once for -- for more video.

 5                  A    Uh-huh.

 6                  Q    Do you recall ever asking them for video that

 7          was not mule video?

 8                  A    No.

 9                  Q   Do you recall --

10                  A    We could have --

11                  Q   -- anyone else asking them for that?

12                  A    We could've -- well, let me -- let me -- let me

13          be clear on that.        I didn't do that.          Maybe somebody else

14          did.    But they did provide video to us that was not mule

15          video.      It was a video -- so there was two of those.

16          Interview between Heather Mullins and an informant, and

17          that wasn't, obviously, a video of drop box mules.                    And

18          they did -- they provided another video to us of a

            mule        an interview with a mule in someplace in Arizona.
19 I
20                  Q    And the -- the video, those two videos that

21          they provided of the Heather Mullins' interview and the

22          Arizona informant interview, those were -- those videos

23          were filmed by True the Vote, or did you -- did --

24                  A    They filmed them.

25                  Q    Okay.    D'Souza Media, okay.
                                                                                        J

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1                   A   So they provided us non-mule video, but we

2           knew -- it was obvious that those weren't the mule --

3           that wasn't a video based upon the criteria.

4                   Q   Okay.    Let's look at --

5                   A   And it's not reflected that way in the film

6           either.

7                   Q   Okay.    Okay.    Let's look at Plaintiff's Exhibit

8           46, which is TTV_007271.

9                   A   Okay.

10                  Q   And do you recognize this document?

11                  A   I mean, I don't recognize it, no.              That is a

12          long time ago.

13                  Q   Okay.    And this is an e-mail from Mrs. D'Souza

14          to Catherine Engelbrecht, Gregg Phillips, and someone

15          named Cole at True the Vote.

16                      Do you recall who Cole was?

17                  A   No idea.

18                  Q   Okay.    And Mrs. D'Souza says, "As you know, we

19          are not done filming so it's important to get the rest of

20          what we need as soon as possible."

21                      Number 1, she says, "1,000 videos.              Don't worry

22          if they are grainy - we can work with them.                 The reason

23          why we want this is to make a collage for the screen of

24          all these videos compiled to fit the full screen.                   It

25          will be incredible to see.            We briefly talked about this


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 1          in California.       Obviously if we want to show in more

 2          detail we will only use 20 to 30 of the best ones .. the

 3          others are just to fill the screen.                Work with Nathan on

 4          this."

 5                  A   Uh-huh.

 6                  Q   Do you recall a conversation in California

 7          about this collage?

 8                  A   No.

 9                  Q   Okay.

10                  A   I do not.     I do remember when Dinesh came up

11          with this idea.

12                  Q   Okay.    So it was Dinesh's idea?

13                  A   Yeah.

14                  Q   And -- and what was the purpose of the collage?

15                  A   I mean, I told Dinesh we do not need a thousand

16          videos, 1,000 videos.          We need a -- the purpose of the

17 ,        collage is to show -- it is a -- I mean, we've done a

18          collage like this before in a previous film.                  It was

19          extremely effective, and it's just -- it's a visually big

20         field to it where you start with 1, 2, and then you go to

21          4 -- 1, 4, 8 or 16, and you fill the screen with this.

22          And the purpose of it was to show that there were lots of

23          video -- of mules.        And that's what we did.            And Dinesh

24          wanted to do that.

25                  Q   Okay.    And did TTV or OpSec end up providing


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1           1,000 videos?

2                   A   No, no, no, no.

3                   Q   Do you recall how many they provided?

4                   A   We got a second group of videos like

5           March 20th, 25th, 30th of, I think like 15 or 17.

6                   Q   Okay.

7                   A   Yeah.

8                   Q   And whose job was it to make the collage?                Was

9           that Nathan?      Mrs. D'Souza says, "Work with Nathan on

10          this."

11                  A   Yeah, it was Nathan.          He probably worked with

12          Frank on that, but Nathan -- Nathan and I talked about

13          it.     You don't -- these things are on the screen for a

14          very short period of time, so we just took the footage

15          that we already had from them and this -- and the new

16          footage, and used that as the basis of it, and we just

17          multiplied it out.        We didn't -- we never needed a

18          thousand.

19                  Q   Okay.

20                  A   We had -- we barely had enough, but we had

21          enough.     I mean, we had enough because that's what we

22          used and it worked.

23                  Q   Okay.    And by "it worked," you mean it -- it

24          had the intended effect of showing that there were many

25          videos?


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1                   A   Yeah.

2                   Q   Okay.    We're gonna mark Plaintiff's Exhibit No.

3           116, is it?       It's -- the Bates number is DDR-00020967.

4                   A   Let me correct that.          It had a -- it had the

5          effect of showing that -- I mean, anybody looking at it

6           would see that there were repeaters in it.                 You can see

7           the repeaters, but it just had a visual effect of showing

8           that we had enough video to make that representation.

9                   Q   By "repeaters," you mean that the -- the same

10          video had been used more than once in the collage?

11                  A   Say it again.

12                  Q   By "repeaters," do you mean that the same video

13          had been used more than once in the collage?

14                  A   If you look at the collage, it's a group of

15          about 16 videos multiplied.

16                  Q   Okay.

17                  A   Yeah, and you can easily see it.

18                  Q   Okay.

19                  A   So we didn't convince anybody we had a thousand

20          videos, and we didn't intend to convince them of that.

21          It's just a -- it's just a way of filling the screen and

22          expressing something visually.             But if you look at it,

23          it's obvious.       I mean, whenever I look at it, I'm --

24          because it's obvious that the -- that there's repeaters

25          all through that thing.


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1                   Q    Okay.    So we're -- we're gonna look at this

2           next exhibit, which is Plaintiff's Exhibit 116.

3                        (Deposition Exhibit No. 116 was marked for

4           identification.)

5                        THE WITNESS:      Okay.

6                   Q    BY MS. BALLIETT:        So the first e-mail in the

7           chain on the bottom --

8                   A    Oh, let me read that one.             I'm sorry.

9                   Q    Okay.    Go ahead.

10                  A    Okay.

11                  Q    So this is an e-mail from Mr. Frankowski to

12          Frank Lamont and Josh L.           Who is Josh L?

13                  A    Josh Lamont.

14                  Q    Oh, Josh Lamont.        Okay.

15                       Is that his son that you mentioned?

16                  A    Uh-huh.

17                  Q    Okay.    And he's copying you, and he says, "I

18          shared a folder with you guys called MULE.                  It has 30

19          videos of mules doing drops."              He says, "We will want to

20          show all of them at once on screen.                 Would be good to

21          make it feel like many more since our film is called 2000

22          Mules.      But with 5 down and 6 across it feels like alot."

23                  A    Yep.

24                  Q   "My system gets overloaded so I'll need you

25          guys to do it in after effects."

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1                       And then he says, "If we want, we can then take

2           this and zoom out more, 30x4.             We'd be showing duplicates

3           but at that size nobody will know."

4                       And then he says, "What do you think Bruce?                   We

5           need something after Gregg interview to show we have more

6           than just 4 mules on tape."

7                       At this time in the end of March, did you just

8           have four mules on tape?

9                   A   No, no, he's just -- he's just -- you have to

10          ask him, but...

11                  Q   Okay.

12                  A   Yeah, no, I mean, we obviously had more than

13          four mules on tape.        So the -- I don't know why he says

14          that.

15                  Q   Did --

16                  A   He just says things like that.

17                  Q   Do you think that he meant that there were just

18          four that were in the film at that point?

19                  A   No, I don't.      I do not believe he thought that,

20          no.

21                  Q   Okay.    And then he says, "We'd be showing

22          duplicates but at that size nobody will know."

23                      Why -- why would he not want someone to know

24          that there are duplicates?

25                  A   I mean, just some -- you'd have to ask him.


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1                   Q    Okay.

2                   A    It would be better not to show duplicates, but

3           we didn't have the video for it.               And maybe he wouldn't

4           know.       I know because I'm extremely -- Nathan is

5           visually, too, but I -- I can see it.

6                         THE REPORTER:     I'm sorry?

7                         THE WITNESS:     I can see it, so...           And other

8           people would know.

9                   Q    BY MS. BALLIETT:        Okay.     And then in your

10          response you say, "Duplicates are fine.                   We know Gregg

11          has the footage."

12                       So --

13                  A     This was before we got it from him.

14                  Q    Okay.    Okay.

15                        And how did you know he had the footage?

16                  A     He said he -- he told us he had it and he was

17          gonna get it to us.

18                  Q    Okay.    But he had not given it to you yet?

19                  A    Right.

20                  Q     And he had not provided you any footage since

21          January at this point; is that correct?

22                  A    Right.    I believe so.

23                  Q    Okay.    Did you have an understanding of why he

24          hadn't provided it to you if he had it?

25                  A    I mean, on several occasions they told us how


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 1          hard it was for them to go through that much footage, and

 2         first of all they had to get -- they had to -- the

 3          criteria had to be met from that mule, and then after

 4          that criteria was met, they had to go through and find

 5          the footage from the drop shot based upon that criteria

 6          and that evidence.        And it was just -- and it was very

 7          sporadic what video they had, so the whole thing was

 8          represented to us as being extremely difficult and

 9          time-consuming.

10                  Q   So did you understand that in -- in March of

11          2022, they were still going through and looking for and

12          matching geo-tracking to surveillance video?

13                  A   Yeah.

14                  Q   Okay.

15                  A   That's what was taking so long.              That's what we

16          were waiting for.       As I said previously, we could have --

17          if we didn't -- if we abandoned that, we would have had

18          this done much, much more quickly and with a thousand

19          videos.     I mean, we -- we -- this would not -- none of

20 I        this would have happened if we had abandoned that

21          concept.     We wouldn't need it.

22                  Q   Okay.    So you didn't feel that TTV or OpSec was

23          reluctant to provide surveillance video; they just hadn't

24          gone through it yet?

25                  A   Right.    I mean, looking back, that -- that


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1           seems reasonable to consume -- to say, and I do remember

2           them saying how difficult it was to do it.

3                   Q   Okay.

4                   A   And it seems reasonable that it would be

5           difficult.

6                   Q   Okay.    Let's look at Plaintiff's Exhibit No.

7           100.    This is TPNF-00002579 (sic).

8                   A   Okay.

9                   Q   Okay.    So the -- the first e-mail at the bottom

10          is -- Mr. Frankowski is e-mailing you and Mr. and

11          Mrs. D'Souza and he says, "Here's what I got after G&C,

12         it may need some VO to connect to the Salem part coming

13          after it.     I played one full screen because it's the only

14          good one left that wasn't shown."

15                      Do you understand him to be talking about a

16          portion of the video to go after the interview with

17          Mr. Phillips and Ms. Engelbrecht and -- but before that

18          and -- I mean, sorry, after that and before the Salem

19          part of the --

20                  A   Can we do this again?

21                  Q   -- film?

22                      Yes, sorry.

23                      So is -- is he -- is he sending you this drop

24          box link, is this a scene of the movie that he had cut --

25                  A   Yeah, uh-huh.

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1                   Q   -- and was sending to you for your review?

2                   A   Yes.    Almost certainly.

3                   Q   Okay.    And -- and when he says, "Here's what I

4           got" --

5                   A   Well, he says here -- he goes, "Here's what I

6           got," so, I mean, he wouldn't -- one second.

7                       Well, here's what I got after C&G.              Okay, so

8           that means it's a cut, yep.

9                   Q   Okay.    And then he says, "Maybe after showing

10          G&C, Gregg will be more motivated to get us more mule

11          videos."

12                  A   We were always obsessed with more mule videos.

13                  Q   And -- and Mr. Frankowski seemed to think that

14          Mr. Phillips was not motivated to provide them.                  Do you

15          know why he thought that?

16                  A   I'm -- you would have to ask Mr. Frankowski,

17          but, I mean -- I mean, you'd have to ask him.

18                  Q   Okay.    And then you respond, "I think this

19          works to the last jump.          There we can see the duplication

20          in pattern."

21                  A   Uh-huh.

22                  Q   "More videos would be super helpful."

23                  A   Yep.

24                  Q   And so is this the collage?

25                  A   Yeah.


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1                   Q   And you are saying that the last zoom out, you

2           can start to see the duplications?

3                   A   Yeah.    I think actually -- actually, the second

4           and -- the second to the last and the last, you can see

5           it.

6                   Q   Okay.    And then Mr. D'Souza responds,

7          "Realistically I think this is out of the question at

8           least for now."

9                       Do you know why he thought it was out of the

10          question for you to get more videos --

11                  A   I do not.

12                  Q   -- at that point?

13                  A   No.

14                  Q   Okay.    And then he says, "Maybe when we show

15          Catherine & Gregg the rough cut we can get them to try

16          and provide more."

17                      So do you know -- do you know why they would

18          provide more after seeing the rough cut or why

19          Mr. D'Souza --

20                  A   Maybe if they would agree with us that we need

21          more visual representation of what the underlying

22          research represent -- said.

23                  Q   Okay.    And did TTV or OpSec provide you with

24          more videos after seeing the rough cut?

25                  A   No, not to my knowledge.


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1                   Q   Okay.    Let's -- let's mark Plaintiff's Exhibit

2           No. 117.     The Bates number is DDR-00011348.

3                       (Deposition Exhibit No. 117 was marked for

4           identification.)

5                       THE WITNESS:      Okay.

6                   Q   BY MS. BALLIETT:        So Mr. Frankowski is sending

7           an e-mail to you and Frank Lamont, and he says, "Hey

8           Frank, we got another dump of mule videos, can you mix

9           these into the grid so it doesn't look like copies and

10          patterns."

11                  A   Yeah.

12                  Q   So is -- is this the second batch of videos --

13                  A   Yeah.

14                  Q   -- that was provided?

15                  A   So to the best of my knowledge -- you'd have to

16          ask Nathan this, but I'm pretty sure I'm right.                  You

17          get -- Nathan can create that montage, and then -- but

18          it's not done to the level it needs to be done for a

19         film, so he sends it off to -- he sends it off to Frank

20          for the final.

21                  Q   And -- and that's sort of refining it for use

22          in the movie technical stuff?

23                  A   Yeah, it has to be -- it has to -- there's a

24          certain level of threshold you have to get with

25          resolution.       And Frank said -- yes.


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1                   Q   Okay.    And do you know whether those -- that

2           second batch of surveillance video was used for anything

3           else other than that collage in the movie?

4                   A   We used it in -- we used it in the film, yes.

5                   Q   So you didn't --

6                   A   There is evidence of -- of visual, a video of

7           mules, yeah.

8                   Q   Okay.    So you used those videos for more than

9           just the collage?

10                  A   Yeah.

11                  Q   Okay.    Let's switch gears a little bit and talk

12          about who had editorial input into the film.

13                  A   Dinesh      I mean, that's a great big open --

14          editorial input is like -- I mean, who made the editorial

15          decisions?     Or input is like everybody inputs.

16                  Q   Okay.    And who had the final say?

17                  A   The final final is Dinesh.

18                  Q   Okay.    And did -- did True the Vote have any

19          say in what went into the film or what was said in the

20         film?

21                  A   I mean, we interviewed them.

22                  Q   Right, but --

23                  A   And they had say as to what the research

24          concluded, and they had -- their other form of input was

25          the video that they gave us.


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1                   Q   Okay.    And did they ever provide you with

2          feedback about things they wanted changed in the movie?

3                   A   No.   They wanted          at the end, they wanted to

4           put their logo at the end and a QR code.                 And I sent them

5           an e-mail saying that I was gonna list them as executive

6           producers, and they didn't object, so and we did that.

7                       And I didn't have a lot to do with them, but my

8           relationship with them was always fairly positive.

9           mean, I think they are genuine people, and I have pretty

10          good respect for both of them.             Still do.

11                  Q   So was it your decision to list them as

12          executive producers?

13                  A   We suggested that.         How that works is, is maybe

14          Dinesh said it or I said it or Debbie said it, do you

15          think they want to be executive producers?                 So I sent

16          them an e-mail saying, this is what we are gonna do in

17          credits at the end, and what do you think?                 And if they

18          say, no, we don't list them as executive producers.                    And

19          if they say something else, we change it.

20                      I do that every film with most key people, and

21          everybody changes a little bit all the time, so that's

22          why I do it.

23                  Q   Okay.    Did Salem have any input into the

24          content of the film?        Did they ever ask you to change

25          anything in the film?


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1                   A   Change anything in the film?            I mean, Salem,

2           you mean -- I would say generally speaking, no.                   We had

3           one or two Zoom calls with Salem, and I do not remember

4           them telling us to change anything in the film.

5                       The only thing that was encouraged by the Salem

6           executives was for us to blur it, which we had already

7           heard from our legal, and which we were already starting

8           to do on our own because we believed in it.

9                   Q   Okay.    Okay.    Let's look at a new exhibit,

10          which will be Plaintiff's Exhibit 118.               The Bates number

11          is TPNF-0004778.

12                      (Deposition Exhibit No. 118 was marked for

13          identification.)

14                      THE WITNESS:      This will take me a while.

15                  Q   BY MS. BALLIETT:        That's okay.         Take your time.

16                      MS. HYLAND:      Can we go off record for just a

17          moment?

18                      MS. BALLIETT:      Yeah.

19                      THE VIDEOGRAPHER:         The time is 11:51 a.m.

20          We're off the record.

21                      (A discussion was held off the record.)

22                      THE VIDEOGRAPHER:         The time is 11:52 a.m.

23          We're back on record.

24                  Q   BY MS. BALLIETT:        Okay.     Let me -- let me know

25          when you are finished looking at that document.


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 1                  A   Okay.

 2                  Q   Okay.    So this appears to be originally an

 3          e-mail from David Santrella?

 4                  A   Yes.

 5                  Q   Who is the CEO of Salem Media, and you are

 6          forwarding it to Mr. Frankowski, right?

 7                  A   Yep.    It looks like that way, yeah.

 8                  Q   And there are -- there are two categories of

 9          comments on the first page.            One is Legal comments and

10          one is Other comments.         And under Legal comments, it

11          says, "In several instances the surveillance camera

12          footage shows identifiable faces of both alleged mules

13          and Georgia election workers...we should consider

14 ,        blurring these out as well to avoid right of

15          publicity/privacy issues."

16                  A   Uh-huh.

17                  Q   And is that what you were just referring to

18          earlier when you said that Salem suggested blurring

19          personally identifiable information?

20                  A   Yes.

21                  Q   But you were already doing it?

22                  A   We were already experimenting with it.               And

23          our -- can I talk to you?           No?    It has to do with my

24          legal counsel.       I don't want to say anything --

25                      MS. HYLAND:     I would answer -- I would answer


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1           the question without disclosing --

2                       THE WITNESS:    Okay.

3                       MS. HYLAND:    -- any advice of counsel.

4                       THE WITNESS:    We were encouraged to blur

5           besides this, and through our own conversations.

6                   Q   BY MS. BALLIETT:      Okay.     And then let's go over

7           to the Other comments section.            The fourth bullet from

8           the top says, "You talk about the same mules going to

9           several drop boxes, but you never show that.               You always

10          show just one mule and one drop.            Is there any video

11          evidence that you could display that shows the person at

12          multiple drop boxes?       Even if you don't have video of

13          each drop the same person made, the geo tracking would

14          suggest that you could show that the same person/device

15          making several stops in one day or over several days."

16                      Did you -- did you ever represent one person

17          making multiple stops in one day or over several days in

18          the film?

19                  A   I do not -- I do not -- first of all, I do not

20          think -- I do not agree with this bullet point.                We had

21          in the film three or four people who had made multiple

22          stops that were in that repeater file, and that I know

23          specifically Gregg represented to me that one of them had

24          made maybe five stops that they managed to get on video.

25          That's just on video.       That's not what their geo-tracking


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1           said.       One of those individuals, so -- and we had that

2           individual in the film making multiple stops.

3                        So I disagree with that bullet point.

4                        And what was the second one?

5                   Q    Oh, that was it.        That was it.         Thank you.

6                   A    And -- and in addition to that, if he's looking

7           at this, at 4, 5, I don't know what cut he's looking at.

8                   Q    Right.    This was not the final cut of the film?

9                   A    No.   I have no idea what cut he's looking at.

10                  Q    Do you think between April 5th and when the

11          film was finalized you added in more material pursuant

12          to -- whether or not it was directly in response to this

13          comment, but more things that would fit the description

14          he is asking for here?

15                  A    I mean, we were actively cutting this for the

16          next probably 10 days.

17                  Q    Okay.

18                  A    Maybe 15 days.       So I have -- I have no idea

19          what he was looking at, and if it was -- I do not know if

20          the -- if this cut that he was looking at even had the

21          stuff that we had just gotten four or five days earlier.

22                  Q    Okay.    So you mentioned --

23                  A    I don't know.

24                  Q    Sorry, go ahead.

25                  A     No, I just don't know what he was looking at.


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 1                  Q   Okay.    So you mentioned that you had someone in

 2          the film who you had going to multiple drop boxes.                   Did

 3          you --

 4                  A   Uh-huh.

 5                  Q   -- show that evidence in the film?

 6                  A   We showed -- we have one sequence in the film

 7          of Atlanta that we show the path of a mule during -- I

 8         forget the exact wording of it.               But Gregg describes it,

 9          and we got that data from him.             We laid it on the -- on

10          the Atlanta map.

11                  Q   Okay.

12                  A   I can't recall it off the top of my head

13          exactly what was said.

14                  Q   Okay.    So, but the -- the map that you just

15          described, is that -- that map is in the film?

16                  A   Yeah.

17                  Q   Okay.    But the video of that person is not in

18          the film?

19                  A   I -- I do not know -- I do not recall off the

20          top of my head.       And since we didn't have the identifying

21          information, I couldn't verify that.               All I know is that

22          I was -- that Gregg told me that he had multiples --

23 ,        multiple mule drops by a single person in the video, and

24          he had this data of one of the mules during the course of

25          a day in Atlanta.       And both went in the film.


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1                   Q   Okay.    Did former President Trump have any --

2           did he ever provide comments on the film that you made a

3           change based on?

4                   A   He said that, after he watched it, that it

5           seemed to drag at the end, which is what I thought and

6           Nathan thought, so we were happy about that.

7                   Q   How many times did -- did he watch the film?

8                   A   He watched it with Dinesh and Debbie, and Gregg

9           and Catherine, and Brandon and Danielle in Mar-a-Lago,

10          and he watched it at the Mar-a-Lago                   Mar-a-Lago

11          premier.

12                  Q   Okay.    And do you know when he first watched it

13          with the D'Souzas and Catherine and Gregg?

14                  A   At -- when they went to -- you mean the date of

15          that?

16                  Q   Yeah, yeah.     Do you know roughly the date?

17                  A   I do not know the date.               No, not off the top of

18          my head, no.

19                  Q   Okay.    Let's mark a new exhibit, which will be

20          Plaintiff's Exhibit 119, I believe.                 The Bates number is

21          DDR 2 -- 00020654.

22                      (Deposition Exhibit No. 119 was marked for

23          identification.)

24                      THE WITNESS:      Okay.

25                  Q   BY MS. BALLIETT:        So the -- the second e-mail


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1          from the top -- well, I should say, sorry, the whole

2           chain is about when the theaters need the film to be

3           finalized.      Is that correct?

4                   A    Right.

5                   Q     And you say in the e-mail at the top, "It will

6           be impossible to have a final edit before 4/17 since

7           Trump sees it on 4/14 and he might have a note or two."

8                   A     Uh-huh.

9                   Q     So you were expecting for President Trump to

10          provide comments that you would incorporate into the

11         film?

12                  A     We weren't expecting it, but if he goes, I

13          really do not want, like, something personal that we --

14          we don't know.         There might be something that he thinks

15          is offensive to him personally.                We don't want to offend

16          him, and you never know.            I mean, everybody has got a

17          note.       I mean, literally everybody has a note, and you

18          take them into consideration.

19                        And I particularly have a lot of respect for

20          Mr. Trump's ability to brand and market, and he was right

21          when he said, "This thing drags."                   I was like, yeah, it

22          drags.      So I was happy.

23                  Q     Okay.    Did he provide any other comments

24          besides that he thought the end dragged?

25                  A    I do remember -- no, I wasn't at the meeting


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1           and I didn't get a lot -- I didn't hear a lot, but I do

2           remember he laughed at the -- when we blurred the dog.

3           Somebody told me he laughed.

4                   Q   Okay.    And when you talk about the dog being

5           blurred, is that -- was that something that -- without

6           disclosing the advice of your counsel, why did you blur

7           the face of the dog in the film?

8                   A   We were -- there were three of us who were

9           obsessed with not identifying anybody.

10                  Q   Okay.    And who -- which three of you was that?

11                  A   It was Bruce, it was Debbie, and it was

12          Catherine.

13                  Q   Okay.    And -- and so I take that to mean that

14          Mr. D'Souza was not in agreement with you on that?

15                  A   No, it wasn't that he wasn't in agreement.                 He

16          wasn't obsessed with it.

17                  Q   Okay.

18                  A   Yeah.    But we were obsessed with it.

19                  Q   Okay.    And why were you obsessed with it?

20                  A   Because the point was never to come down hard

21          on any individual or to -- it wasn't about this person or

22          that person violating the              violating some law.        It was

23          about, is there or is there not a systematic, widespread

24          effort to change the outcome of this election with the

25          use of -- that involves -- one piece of it involves these


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1           mules.      It wasn't about hurting any of these mules or --

2           or exposing them.

3                        And -- and that's why at the end of the film, I

4           thought, you know, it's cut time.                  We left in the woman

5           that had been a mule that said she did it because she

6           needed Christmas -- Christmas money for her kid.                   So we

7           had no interest in hurting anybody.

8                   Q    Okay.    Let's switch gears a little bit and just

9           talk about the insurance for the movie.

10                       So when you produced films with D'Souza Media,

11          what types of insurance do you normally seek to obtain

12          for each film?

13                  A    Production and E&O.         E&O is errors and

14          omission.

15                  Q   Okay.     And what does that cover?

16                  A    That covers any errors that we make or

17          omissions in the film.          I mean, I'm --

18                  Q    And that's --

19                  A    I'm the last person to give a legal description

20          of anything, believe me.

21                  Q   Okay.     But generally speaking, it's if there is

22          a lawsuit related to an error or omission?

23                  A    Yeah.

24                  Q   Okay.     And did you seek to obtain both of those

25          types of insurance for 2000 Mules?


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1                   A    We got the production insurance.            We did not

2           get the E&O insurance.         We did seek E&O insurance.

3                   Q   Okay.    And do you understand why you did not

4           get it?

5                   A   It was the hottest issue in the country.

6           Nobody would touch it.         Election integrity, I mean, if

7           you said anything to challenge election integrity, you

8           were banged off of Twitter.            You were canceled.        You

9           were        I mean, they wouldn't touch it.

10                  Q    Okay, so what --

11                  A    Obviously.

12                  Q   Let's -- let's look at a new exhibit.               We will

13          mark Plaintiff's Exhibit No. 120, and it's TPNF-0004628.

14                       (Deposition Exhibit No. 120 was marked for

15          identification.)

16                       THE WITNESS:     Okay.

17                  Q    BY MS. BALLIETT:       And in this e-mail, at the

18          bottom you are e-mailing, it looks like, Frank Lamont and

19          Mr. Frankowski.       And you say, "We are working on E&O

20          insurance.     Clearance lawyer Sarah is requesting a final

21          version blurring for clips they are worried about.                   Since

22          we don't want to ship without E&O can I send her

23          something today?"

24                      Do you -- do you understand what clips they

25          were worried about?


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1                   A   I mean, I don't know how to -- again, I do not

2           know how to answer this without saying what my lawyer

3           told me.

4                   Q   Okay.     Do you -- do you understand what -- do

5           you recall, I should say, what clips Mr. Lamont sent you

6           in response, what these two clips are?

7                   A    Well, this is -- this might be more than two

8           clips.      I don't know what's in these folders.

9                   Q    Okay.    He says, "Here are two clips."

10                  A   I know, but the clips could be --

11                  Q   It could be -- it could be the whole movie?

12                  A    Yeah.    It could be, yeah.           It could be five

13          minutes.     I don't know what this is without -- I don't

14          know what it is.        I do know that we -- I do know that we

15          did more and more blurring through this thing.

16                  Q    Okay.    For how long did you do that process?

17          Was it sort of right up until the end?

18                  A    No, I would say around this timing, we would be

19          getting towards the end, because we had to get things

20          organized for the DVD release in the theaters.

21                  Q   Okay.     And even though you were blurring more

22          and more, they still wouldn't provide the E&O insurance?

23                  A    You know, they wouldn't -- they rejected it

24          without watching the film.

25                  Q   Okay.
                                                                                        J

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1                   A   They rejected it on the description.

2                   Q   But here it says that you were working on it

3           and they are asking for clips, so...

4                   A   Yeah.

5                   Q   So you think they didn't --

6                   A   Oh, no.    No, they didn't.

7                   Q   They didn't look at the clips?

8                   A   Hang on one second.         No, Sarah is not the

9           Sarah is our lawyer.

10                  Q   Okay, so you provided the clips to your

11          attorney, but you don't believe that the                   the insurance

12          company looked at them?

13                  A   I -- I'm -- I know the insurance company never

14          watched the film.

15                  Q   Okay.

16                  A   Unless my broker lied to me.

17                  Q   Okay.    I think --

18                  A   They rejected it off the -- they rejected it

19          off the description.

20                  Q   Okay.    Okay.    I think that's -- might be a good

21          time to break for lunch.

22                      MS. HYLAND:      Okay.

23                      MS. BALLIETT:      And then do you know how long

24          your?

25                      MS. HYLAND:      Does anyone know how long?           I


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1           don't expect it to be long.             I think -- I'm hoping maybe

2           ten minutes.

3                        THE VIDEOGRAPHER:         Do you want to go off the

4           record?

5                        MS. HYLAND:     Yeah, we can go off record.

6                        MS. BALLIETT:      Yeah, yeah, we can go off the

7           record.

8                        THE VIDEOGRAPHER:         The time is 12:10 p.m.         We

9           are now off the record.

10                       (The deposition was at recess from 12:10 p.m.

11          to 1:33 p.m.)

12                       THE VIDEOGRAPHER:         The time is 1:33 p.m.         We

13          are back on record.

14                  Q    BY MS. BALLIETT:        Okay.     So Mr. Schooley, when

15          the movie was being made, how often did you communicate

16          with True the Vote?         And by that I mean True the Vote,

17          Ms. Engelbrecht, or OpSec, Mr. Phillips, any of them?

18                  A   Very seldom.       I would say when the movie is

19          being made, maybe, you know, three, four times, five

20          times.      I mean, we -- I communicated to them on set when

21          we were.      And but after that, maybe two or three Zoom

22          calls.

23                  Q    Okay.    And do you know whether Mr. Frankowski

24          communicated with them?

25                  A   I think he had limited e-mails.               You have to


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1           ask him, but limited e-mails or -- or communication with

2           Gregg about the delivery of the second batch of videos.

3                   Q   Okay.    Okay.    And did you have any

4           correspondence with Gregg around the time that the second,

5           batch of videos was sent?

6                   A   I don't recall.       I mean, I might have just

7           because we were really hoping to get them, but I -- I

8           don't recall.

9                   Q   Do you recall ever asking Mr. Phillips to

10          confirm that the second batch of videos was geo-tracked?

11                  A   I do not remember asking him to confirm that.

12                  Q   Do you recall having any discussions with him

13          about whether the videos provided after January were

14          geo-tracked?

15                  A   No.

16                  Q   Okay.    Let's look at Plaintiff's Exhibit No.

17          80, which is Bates numbers TPNF-0001637.

18                      And let me know when you are finished.               Take

19          your time.

20                  A   Okay.

21                  Q   Okay.    So if you look on the second page, the

22         first e-mail in the chain on the bottom, it appears to be

23          another e-mail from someone at Salem who is the COO named

24          David Evans, and he had written Dinesh, which you were

25          forwarding, it looks like, to Mr. Frankowski and copying


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1           Mr. D'Souza.

2                       Does that seem right?

3                   A   Yeah.

4                   Q   And then what Mr. Evans had written, so he

5           says, "I got some additional feedback from the leadership

6           at Regnery and Townhall.

7                       Regnery is the publishing company, right?

8                   A   Uh-huh.

9                   Q   And what's Townhall?

10                  A   I think it's a -- like a platform or an e-mail

11          publishing thing or something that they own.

12                  Q   Okay.    And so they were just leadership at

13          Salem who were working at the other non-Salem Media

14          Group, I guess?

15                  A   Uh-huh.

16                  Q   Or are they part of Salem Media Group; do you

17          know?

18                  A   No, I don't -- I don't know that.

19                  Q   Okay.    So these -- these people, they say that

20          they -- Mr. Evans says, "There was -- I think he means

21          was -- a concern that we are not showing enough evidence

22          of wrongdoing.       There were 3 suggestions.

23                      "Show the same person visiting multiple drop

24          boxes.

25                      "Show more people stuffing ballots."


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1                        And "Show in greater detail the mobile phone

2           data.       Show the exact route that someone took at 3 in the

3           morning and state exactly how many bad cell phone trails

4           were found."

5                   A    Okay.

6                   Q    And then you forward the e-mail and you say,

7           "Regarding David's list:            I'll work with Nathan on one

8           and two.      A couple more clips will do it.              Some are

9           already in there now.

10                       "What about 3?        Not a bad idea."

11                  A    One second.      "I will work with Nathan on one

12          and two.      A couple more clips will do it.              Some already

13          in there now."

14                       So that means to David, I'm saying that he

15          doesn't have the last cut.

16                  Q    Okay.

17                  A     Yeah.

18                  Q    Okay.     So he -- yeah, they had not seen the

19          latest cut.

20                  A    Okay.

21                  Q    Okay.     "What about 3?"         You say, "Not a bad

22          idea.       Could Gregg give us the route of one mule on one

23          night.      Frank could easily throw it on one of our maps,

24          give the times.         It would take 10 seconds on screen over

25          someone already talking.            All visual with the red pops


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1           and the time and the coordinates.                 We could create it if

2           he can't get us real info but it would be better with

3           real data."

4                   A   Uh-huh.

5                   Q   Why -- what was your understanding of why

6           Mr. Phillips might not be able to get you real info?

7                   A   Well, we had -- I mean, we did have one from

8           him that was real data.          So I don't know when -- of the

9           Atlanta mule, because I think that was in his original

10          presentation or whatever to us, if I'm remembering right.

11                      So what was the question?

12                  Q   So the question was, you say:             "If he can't get

13          us the real info, we could -- we could create it."

14                  A   Yeah.

15                  Q   Why wouldn't he be able to get you real info?

16                  A   He should be able to get us real info.               He

17          might -- he might not -- he just might not do it.

18                  Q   Right.    And -- and why would that be?

19                  A   I have no idea.

20                  Q   Okay.

21                  A   But I think -- I mean, the one we had he looked

22          at and approved.

23                  Q   The map that you had?

24                  A   Yeah.

25                  Q   Okay.    He never said this map is not accurate?


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1                   A   Right.

2                   Q   Okay.    And did -- did Ms. Engelbrecht ever look

3           at the map and say it wasn't accurate?

4                   A   And this is April 7th?

5                   Q   Yeah.

6                   A   Okay.    So did Mrs. -- no, she didn't.             We never

7           got comment from them that anything we did in the film --

8           I mean, I have to be careful.             I have to be -- think.

9                       We never got a comment from them that anything

10          in the -- I'm not going to say that because I don't know

11          if that's necessarily true.

12                      THE REPORTER:      I didn't hear the last part you

13          said.

14                      THE WITNESS:      I'm not going to say that because

15          I -- I have to review the entire film in my head, and I

16          just can't do that right now.

17                      So no, they did not tell us at that -- that

18          that particular graphic was wrong.

19                  Q   BY MS. BALLIETT:        Okay.     And then in the e-mail

20          above that, Mr. Frankowski says, "There is no video of a

21          mule at multi locations, or at least looks like the same

22          person."

23                  A   That's -- so this is how he talks.              You can

24          talk to him about that.          But that's -- those are two

25          different things.       He's not saying there is no mules.                He


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1            says that you can't -- the visual                  the footage doesn't

2            look like it's the same guy.

3                    Q   Okay.

4                    A   Yeah.

5                    Q   But so at this point, you had already decided

6            to blur people's faces, right?

7                    A   We were in the process -- so -- the blurring

8            decision happened sometime in March.                It ramped up, and

9            at this point we were in blur mode.

10                   Q   Okay.    So -- so when he says, "There is no

11           video of a mule at multi locations, or at least looks

12           like the same person," but why would it -- why would it

13           matter whether it looked like the same person because the

14           person's face is --

15                   A   Well, we --

16                   Q   -- blurred anyway?

17                   A   We wouldn't represent or put it in the film

18           that it was the same -- that it was the same person just

19           because we could blur it.

20                   Q   I understand that.          I'm not implying that --

21           that you would do that.           I'm saying, if you're hiding the

22           person's identity anyway by --

23                   A   Yeah.

24                   Q   -- blurring their face --

25                   A   Yeah.
                                                                                          J

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1                    Q   -- and it doesn't look like the same person but

2            you know it is the same person, why wouldn't you include

3            it?

4                    A   Well, I think we did put him in.               I think

5            this -- this one was the one of -- Nathan has a very high

6            cinematic orientation towards this stuff, and so it needs

7            to -- I mean, that's as important to him as data.                     I

8            mean, he's very, very concerned that it looks -- that it

9            has a particular look.

10                       I am -- I'm -- I was concerned about the

11          fundamental data.         When Gregg said that that one guy in

12           the -- with -- in the -- in the black hoodie was in four

13           different places or five different places, he was in the

14           film and I am almost positive at least twice or three

15           times, and we blurred him.

16                   Q   Okay.

17                   A   When Nathan says the stuff, it doesn't

18           necessary mean that -- that's how he's -- it's how he's

19           approaching it at the time.

20                   Q   Okay.    And then         and then he says, "3 is

21           actually in the movie, here's the transcript.                   The

22           problem is it's Gregg's shitty graphic.                   We could redo

23           this one with Frank, and make it better."

24                   A   One second.      "3 is actually in the movie,

25           here's the" -- so 3 was what?

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1                    Q   Three was --

2                    A   Yeah, see.

3                    Q   -- the mobile phone data.

4                    A   Yeah, so that -- so this is probably -- my

5            guess is Salem is a big organization.                 They passed these

6            things around.       God only knows what actual video -- what

7            actual cut these people were looking at, right.

8                        So by the time that Nathan saw this, he goes,

9            yeah, this is already in the film, and -- and it was like

10           I said earlier, Gregg had these graphics that didn't work

11          for -- they weren't very -- I couldn't understand them

12           really.     I mean, they are just these fuzzy things, and so

13           we redid it.

14                   Q   And that's what you are talking about when you

15           say, "I hate that graphic in there now," you re-created

16           his graphic with --

17                   A   Yeah, we re-created the graphic now.

18                   Q   Okay.

19                   A   But it was basically based upon Gregg's work.

20                   Q   Right.     And he saw it and he didn't object to

21           it?

22                   A   He saw it and he didn't object to it, and it's

23           based upon his work, and yes.              And it's -- yes.

24                   Q   Okay.    And did you -- do you remember

25                   A   He didn't object to it to me.


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1                    Q   Okay.    Okay.     Do you have any reason to think

2            that he objected to it to anyone else?

3                    A   I have no reason to think that.

4                    Q   Okay.    Who was responsible for payments to True

5            the Vote under the agreement?

6                    A   Me, Bruce.

7                    Q   Okay.    And --

8                    A   I mean, I wrote the checks.

9                    Q   Okay.

10                   A   Yeah.

11                   Q   Okay.    And do you know how many payments were

12           made to -- to True the Vote?

13                   A   I don't know how many individual payments.                  My

14           guess is four or five.

15                   Q   Okay.    And were those payments made to True the

16           Vote itself?

17                   A   No.

18                   Q   And --

19                   A   Well, let me back up.           There were -- there was

20           a       an expense check that was given -- that was paid,

21           and I don't know if it went to -- who -- who that check

22           was made out to.        I do know we did expense a check.               We

23           did a check for their speaking fees because they went and

24           spoke someplace, and that was either for the expenses of

25          it or their speaking.


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1                        So I'm not absolutely clear on this one.                  I

2            want to go on record I'm not absolutely clear on this.

3                        And then there were checks written to -- for

4            the -- their percentage distribution from the film, and

5            those were written -- did you ask me who they -- what

6            they were?

7                    Q   Who -- who those checks were written out to.

8                    A   Shadow Beach LLC.

9                    Q   Okay.    And do you know what that entity is?

10                   A   No.

11                   Q   Did you ever ask?

12                   A   I asked Dinesh when I got that notification.

13           It's not uncommon for us at all.               I mean, what we do is

14           to contact people who we are going to send the check to

15           that's talent or, you know, some kind of disbursement,

16           what is the entity you want us to use?                    And they tell

17           you, and you write a check to that entity.                   It's standard

18           business practice.

19                       And when I got that notice from Dinesh that

20           they wanted -- wanted it paid to Shadow Beach LLC, I

21           said, I won't do it until you get Salem to sign off on it

22           because I'm just not gonna do that.

23                       And -- and he got Salem to agree to it, legal

24           Salem.

25                   Q   Okay.    And why were you concerned about Salem


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1            agreeing to it?

2                    A    Because I never heard of Shadow Beach LLC.

3                    Q    Is it --

4                    A    I had -- and I don't think Salem had ever heard

5            of Shadow Beach LLC.          It was like -- it was --

6                    Q    So why do you think that Salem eventually

7            agreed to that?

8                    A    I don't know, but they did.

9                    Q    Is it common for you to have a profit sharing

10           agreement with one entity and to pay a different entity?

11                   A     Like I said, we do -- we often ask -- we don't

12           know what letters of understanding or agreements have

13           been made between True the Vote and Shadow.                    We don't

14           know.       We ask them where they want the money to be sent,

15           and we send it.

16                   Q    Okay.

17                   A    I just wanted everybody in the -- everybody

18           with -- with responsibility for the film to know what was

19           happening --

20                   Q    Okay.

21                   A    -- and sign off on it.

22                   Q    Okay.    Let's look at -- we're gonna mark a new

23           plaintiff's exhibit number.              I think it's 121 we're at,

24           and it's DDR-00059971.

25                        (Deposition Exhibit No. 121 was marked for


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1            identification.)

2                        THE WITNESS:       Oh, sorry.

3                        Yep.

4                    Q   BY MS. BALLIETT:         So this is a letter from you

5            and Mr. and Mrs. D'Souza from OnePartyAmerica LLC to

6            Shadow Beach LLC, and it says, "We have decided to make a

7            third disbursement" -- oh, bless you, if that was a --

8                    A   Excuse me.

9                    Q   -- sneeze.

10                       Are you good?

11                   A   Yeah.    Thank you.

12                   Q   So it says, "We have decided to make a third

13           disbursement payment to the equity holders of -- from the

14           profits of OnePartyAmerica LLC's film '2000 Mules.'"

15                       Now, this is described as a, "We have decided

16           to make a third disbursement payment."                    So was this a

17           discretionary payment?

18                   A   No, I mean, you -- you decide when you make the

19           disbursement.       I mean, sometimes people hold onto cash

20          forever.

21                   Q   Right.

22                   A   So we -- we -- we -- we just made a decision to

23           disburse on a regular basis, and...

24                   Q   Okay.    So this was part of the percentage that

25           they had contractually agreed?

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1                    A   Yes.

2                    Q   Okay.    That you had contractually agreed to

3            give them?

4                    A   We had, yeah.

5                    Q   Okay.    And -- and you had just decided when to

6            make the disbursement?

7                    A   Yeah.

8                    Q   Okay.

9                    A   It was a timing issue.

10                   Q   Okay.    Understood.

11                       Let's fast-forward a little bit.               How did you

12           come to learn about this litigation?

13                   A   I heard -- I got -- I think Dinesh called me

14           and said that he had been deposed or -- I don't know the

15          exact wording.        I mean, I don't know exactly the time in

16           which I came to know it, other than it was in

17           April around -- around him being served.                  And I think you

18           got -- were served a -- I think a letter, or I don't know

19           what, something like that.            But I think you got served.

20                       And I think I had heard that there was some

21           grumpiness happening, but I didn't know what it was -- I

22           don't believe I knew what it was specifically, and I

23           certainly didn't know the specifics of this until I

24           actually read the -- the -- what's it called?                   The

25           document that is used to say that you are being -- is

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1            there like a -- what's it called?

2                        MS. HYLAND:       Complaint.

3                    Q   BY MS. BALLIETT:          The complaint.

4                    A    Complaint.

5                    Q    Yeah.

6                    A   I tell you, I'm a very bad lawyer.                I can't

7            remember a word.

8                        So that was when.

9                    Q   Okay.     And that was in -- you said April of

10           which year?

11                   A   No, it was in -- no, it was in October -- I'm

12           sorry, October.

13                   Q   Okay.

14                   A   It was in October.

15                   Q   Okay.     Yeah.     That's -- that's right.           It

16           was -- the complaint was filed in October?

17                   A   Right.

18                   Q   And what was your reaction to learning about

19           the lawsuit?

20                   A   I read it and I said, oh -- I think there was

21           descriptors in it about who was suing us.                   And my

22           reaction was, oh, that's the guy that's in the film

23           twice.      He dumps five in one time; he dumps five in

24           another time.        This -- this is simple.

25                   Q   Okay.     And did you --
                                                                                           J

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1                    A    I didn't -- I didn't -- I treated it seriously,

2            but I had a high confidence that it was somebody who had

3            dumped ballots in twice, and it wasn't on the day of the

4            Gwinnett anomaly, so it wasn't part of that -- that whole

5            thing.      So that means it had been -- you know, I looked

6            at the -- I think I asked Nathan for the video, and --

7            and I looked at it, and I said, yeah, you know, the

8            Gwinnett anomaly was on the -- was on the 12th, so this

9            is stuff that was geo-tracked.

10                        And one of his dates was the 6th and the other

11           one was the -- I think 16th.              And I went, and he stuffs

12           five in once and I think like five in the next, and I

13           went -- and I went, oh, that to me started lining up to

14           making the criteria -- I mean, it made the criteria

15          for -- I mean, it would be what you would be looking for

16           for a mule that met our criteria.

17                   Q    Okay.    And so could you explain to me your

18           understanding of what the Gwinnett anomaly is?

19                   A    There was a day that -- it's in the film.

20           There was a day where they had received like 1620 -- I

21           mean, in the film, 1621 ballots, and Gregg thought that

22           was unusual.      He has wording for it in the film.

23                        So he did a -- he said in the film we did a --

24           we geo-tracked it, meaning that they put a -- a border

25           around that drop box, and they counted how many phones


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1            went to it.      And then he said, you know, it was like

2            200 -- 200 -- I think in the film he says a couple

3            hundred films -- couple hundred phones.

4                        And then -- and then he said they asked for the

5           footage.      Catherine asked for the footage.               It's in the

6           film again.       Catherine said that they didn't give -- they

7            told Catherine the footage wasn't there, so they did a

8 ,          Freedom of Information Act or one of those things that

9            compels public documents.            And lo and behold, a couple

10           days later it shows up, and they watched it, and a couple

11           hundred people went to the Gwinnett County on that same

12           day, and that confirmed their geo-tracking.

13                   Q   Okay.    So is it your understanding that --

14                   A   This is all in the film.

15                   Q   -- unlike for drop boxes -- like -- I'm sorry,

16           let me rephrase.

17                       Is it your understanding that Mr. Phillips

18           specifically looked at this drop box, and he conducted a

19           different type of research than he conducted for all the

20           other drop boxes?

21                   A   I mean, it was -- it was a particular thing he

22           looked at, but that's not why with regards to Mr. --

23           Ms. -- well, that's -- that would have only happened on

24           the 12th.

25                   Q   So -- so Mr. Phillips didn't geo-track the rest


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1            of the -- the days that wasn't --

2                    A   I don't know.     In the film, he said he

3            geo-tracked it.      So we -- I mean, we considered that he

4            had geo-tracked it, and they met the criteria.                 And I --

5            I thought they expressly met the criteria, because

6            Mr. Andrews -- Chris Andrews?            Andrews?

7                    Q   Yes, Andrews.

8                    A   -- was in the film twice, and it wasn't on that

9            date, so I had even greater confidence.

10                   Q   So I'm -- I'm sorry, I'm just struggling to

11           understand why it not being on October 12th would give

12           you greater confidence?

13                   A   Because the Gwinnett anomaly was on

14           October 12th.

15                   Q   Right.   So why -- why would it be more likely

16           that he came to the ballot drop box twice if one of the

17           days was not October 12th?

18                   A   Both of the days were not.

19                   Q   Both of the days were not.           But I'm -- I'm

20           still struggling to understand what the role that

21           October 12th plays in --

22                   A   That was --

23                   Q   -- that --

24                   A   -- a Gwinnett --

25                   Q   -- calculus.


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1                    A    -- anomaly date.

2                    Q    Okay.

3                    A    So even if he did have separate criteria, which

4            we did not know about -- even if he did have separate

5            criteria, it wouldn't have anything to do with him

6            putting those other videos in there.

7                    Q    Okay.    So you understood the video to be a

8            tracked -- a geo-tracked video because it was on the

9            dates of October 15th and October 6th; is that correct?

10                   A    I -- yes, and because -- and it was not

11           Gwinnett anomaly dates.

12                   Q    But the Gwinnett anomaly dates were geo-tracked

13           also?

14                   A    They were -- they were -- they were -- he says

15           in the film how they were -- I mean, he missed they were

16           geo-tracked in the film, and then -- and we always

17           assumed they were fully geo-tracked.                 I mean, that's what

18           we thought.

19                   Q    You assumed what was fully geo-tracked?

20                   A    We did not -- we did -- the basis of the film

21          is that there were 2,000 mules that were geo-tracked,

22           right?      But we know that he didn't geo-track the -- a

23           mule in Arizona.         We know he didn't geo-track a mule in

24           Arizona because they are outside of the population of the

25          film.

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1                        We are -- we always assumed there was a -- the

2            numbers they gave in -- I still think this.                   The numbers

3            they gave, like in -- like in -- in Atlanta, the 242, he

4            geo-tracked 242 people who went to ten drop boxes, ten

5            made ten visits to drop boxes and five other locations to

6            do whatever they did.          And I had no reason to suspect

7            that those non-October 12th dates were not part of that,

8            and I had no reason to suspect that the non -- that the

9            October 12th date was not part of that.

10                       To me, is it absolutely essential that it is?

11           Not for the fundamental concept of the film, but we

12           operated under the concept that it is.                    The fundamental

13           concept of the film transcends that.                This is just

14           further evidence of it, but we always operated that all

15           of them were.

16                   Q   Okay.    So --

17                   A   The film was 2000 Mules, and we show 2,000

18           mules.

19                   Q   Right.     And so -- so you understood that

20          every -- I think we've gone over this before, but you

21           understood that every video that was provided to you was

22           geo-tracked?

23                   A   Yes.

24                   Q   Okay.

25                   A   Yeah.    And he says -- he says -- he says in the

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1           film.

2                    Q   He says in the film that every video that you

3            look at is geo-tracked?

4                    A   Yes.

5                    Q   Okay.    Let's -- let's look at a new exhibit,

6            Plaintiff's Exhibit No. 122.             The Bates number is

7           DDR-00016711.

8                        (Deposition Exhibit No. 122 was marked for

9            identification.)

10                       THE WITNESS:       He doesn't struggle that much.

11                       (Court reporter clarification.)

12                       THE WITNESS:       Sorry, I will wait for a

13           question.

14                   Q   BY MS. BALLIETT:         Okay.     This is a -- this

15           looks like an e-mail from Mr. Frankowski to you, and it

16           includes a drop box link, correct?

17                   A   Uh-huh.

18                   Q   And then it says -- Mr. Frankowski says,

19          "Here's the late dump that had that guy."                   And then there

20           are two clip names:         10/15/20 and 10/6/20, and I

21           understand those to be dates.

22                       Does that seem right?

23                   A   Uh-huh.

24                   Q   Okay.    And then Mr. Frankowski says, "The thing

25           that gave me pause was he really struggles with how to


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1            drop the ballets in the 2nd clip."

2                        Are you good?

3                    A   I'm okay.      Thank you.

4                    Q   "He really struggles with how to drop the

5            ballets in the 2nd clip, like he has no idea how to use

6            it.     But if he'd been there before that wouldn't be the

7            case."      And then he says, "If it's the nighttime guy,

8            it's very suspect that he puts on mask before getting out

9            of car, at night with nobody around.                 But if he's a big

10           lefty he might just be that scared of covid."

11                   A    Yes, yes.

12                   Q    So -- so did you -- had you asked

13           Mr. Frankowski to find the clips that you thought were of

14           Mr. Andrews?

15                   A    Yeah.    This is probably after the deposition,

16           we heard about this suit.

17                   Q    Okay.    Great.

18                   A    Yeah.

19                   Q   Did you ever share with -- with Mr. or

20           Mrs. D'Souza or anyone else this concerned voice by

21           Mr. Frankowski that there might be a good reason to think

22           that this person was not the same person?

23                   A   No.   I mean, maybe I did.              I doubt it.     I --

24           I -- I have my reasons why I believe it is the same

25           person.     And this is very Nathan-esque; you can talk with


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1            him about that.

2                    Q   Did you ever ask Mr. Phillips or

3            Ms. Engelbrecht to provide geo-tracking data to determine

4            whether this was in fact the same person?

5                    A   You mean after the lawsuit?

6                    Q   Yes.

7                    A   No.

8                    Q   Okay.    Okay.     So if you are asking

9            Mr. Frankowski to look into this, was there a particular

10           reason why you didn't ask?

11                   A   No, I asked him to send me the two clips.

12                   Q   Right.     So is there a particular reason why you

13           didn't ask Mr. Phillips or Ms. Engelbrecht to --

14                   A   I'm not in communication with them.

15                   Q   Okay.

16                   A   Yeah.

17                   Q   Do you know whether --

18                   A   I literally have no communication with them for

19           years.

20                   Q   Okay.    So after the lawsuit was filed, you

21           haven't spoken to them?

22                   A   No.    And I would be afraid to talk to them

23           after the lawsuit was filed.

24                   Q   Why is that?

25                   A   I just think you -- people shouldn't -- I don't


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1            think you talk with each other, right?                    I don't know what

2            the deal is, but I just, you know.

3                    Q   Okay.

4                    A   I mean, that was -- there would be no reason.

5            I -- I believe that he was geo-tracked, and when I looked

6            at the two -- I can make these determinations myself.

7            When I look at this guy, there is many reasons why I

8            think it's the same guy.

9                    Q   Okay.    And we talked a little bit about

10           earlier, how Mr. D'Souza had hired some undercover

11           journalist to locate mules who participated in -- in

12          election fraud?

13                   A   I'm trying to remember if how you are

14           characterizing it is right.

15                   Q   The communications we were talking about with

16           Tony and Trina --

17                   A   Right.

18                   Q     I think it was, or something like that.

19                   A   Yeah, they -- I mean, they came to him with a

20           presentation and said they could find this stuff out, and

21           they had stuff already, and I think Dinesh and Debbie

22           gave them some money to continue just to see what they

23           could come up with.

24                   Q   Okay.    Do you know whether Mr. or Mrs. D'Souza

25           asked Mr. Phillips or Ms. Engelbrecht to find the

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 1           geo-tracking data that would support the claim that the

 2           person in these two clips is the same person?

 3                   A   I do not know that, no.

 4                   Q   Okay.    Okay.     I just have one more document.

 5           We are going to mark --

 6                   A   Can I tell you why I think these two people --

 7           this is the same person?           Is that a bad thing for me to

 8           do?

 9                       MS. HYLAND:      It's your deposition.

10                       THE WITNESS:       I don't want to go rogue.            Can I

11           tell you why?

12                   Q   BY MS. BALLIETT:         There is no question pending.

13 I         There is no question pending.

14                   A   It seems relevant, though.

15                   Q   Okay.    So I think we're on Plaintiff's Exhibit

16           No. 122.

17                       MS. HYLAND:      123 is the next one.

18                       MS. BALLIETT:       Yeah, okay.        The Bates number is

19          DDR-00018752.

20                       (Deposition Exhibit No. 123 was marked for

21           identification.)

22                   Q   BY MS. BALLIETT:         Let me know when you've

23           finished looking at that.

24                   A   I've read it.

25                   Q   Okay.    So in this e-mail, Robert Ellis from


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1            Salem asks you to send him "1,000 Mules DVDs," and that's

2            1,000 -- 2000 Mules DVDs, to be clear.

3                        And you say, "Yes!          Are you selling them again

4            or???"

5                        And he says, "Quietly selling them..."

6                        What did you understand him to mean by that?

7                    A   I actually don't know.            I don't know how you

8            quietly sell something.

9                    Q   Okay.    And when         when you say are you selling

10           them again, did you have an understanding that Salem had

11           stopped selling them at some point?

12                   A   I understood that they were down to like -- I

13           mean, I don't think they had any, and I understood that

14           they were -- nobody was selling any of these things.                        So

15           I think I got something from him -- I don't know.                    Oh, he

16           says, "Can you -- can you send" -- I don't know.                    One

17           second.

18                       He says:     Can you send me 1,000 DVD Mules, so

19           he wanted them for some reason.               And I asked him, "Are

20           you selling them again?"           And he said, "Quietly."

21                   Q   Okay.    Sorry, but we're going to have one more

22           document.     We're gonna look at Plaintiff's Exhibit

23           No. 110.

24                       Okay.    You have had a chance to review this,

25           right?


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1                    A   Uh-huh.

2                    Q   And is this related to the -- the explanation

3            you were wanting to provide earlier?

4                    A   Yes.

5                    Q   Okay.    Go ahead.       What -- what does this tell

6            you?

7                    A   So they -- I mean, the -- to me, these two

8            people -- this looks like the same person.                  And why I

9            think that's a reasonable thing to conclude is based upon

10           that he -- so once this lawsuit was done, I went back and

11           looked at some of the details.              But when we were making

12           the film, I also looked at details with regards to

13           Gwinnett County and the other places that we had

14           mentioned specifically in the film.

15                       So I knew that Gwinnett County -- and we went

16           through all the county registration and how many people

17           voted by drop box versus absentee and in person, and I

18           remember Gregg saying that that was high.                  So I checked

19           that before we -- I checked that while we were making the

20           film, and he was right.

21                       So in Gwinnett County, you had 420,000 people

22           vote, but 220,000 of those voted by drop box, which is

23           which is very, very high.            So that's why I was generally

24           suspicious of this.

25                       But we know more about this guy, how low of a

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1            probability this is of this guy.            We know more about how

2            low of a probability that this is two -- this is two

3            people.   He is -- so here's the qualifiers on this.                 He

4            is male, so you go from 220 to about a hundred thousand.

5            He's dropping this off at the same drop box, and I

6            remember Gregg saying that there were a couple dozen

7            Gwinnett County drop boxes, and he's close to being

8            right.    There is 23.

9                      So if this guy is dropping it off of 1 of 23 at

10           this same location, now you're down to -- I mean, the

11           percentage of 1 on 23 is like five, so now you are down

12           to 5,000 people.

13                     And he's completely bald.             He wears these

14           really -- he has these incredibly small John Lennon

15           glasses in the car and in person here as sunglasses.                     A

16           very rare thing.     And this is all kind of objective stuff

17           before you get to the fact            I mean, he -- he appears to

18           be the same race.     All of those are -- all of those

19           dramatically limit the population that he -- the number

20           of people that could possibly perform this.

21                     And then you get down after that to the

22           subjective stuff, which is, he looks alike.                He has the

23           same body type.     He moves alike, throws his -- when he

24           walks, he throws his elbows up.            And I was, from the very

25           beginning, very convinced.         Because I looked at all these

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1            videos quite a bit, I was very convinced this was one

2            single person, and I am convinced of that today.

3                        He was awkward the first time he approached the

4            box, which is during -- I believe during the day, and

5            then he was less awkward the second time.                  And he put his

6            flashers on.     I mean, he has his left signal flasher on

7            once, and then he puts his night flashers on and leaves

8            them on again.

9                        This is all quirky stuff, and I think it's -- I

10           think it's very unlikely that this guy is two people.                       I

11           still think that.        Extremely unlikely.

12                   Q   Okay.    And so you said that one of the reasons

13           you thought that it was the same person was that it's at

14           the same drop box, but wasn't it true -- isn't it true

15           that in the film, the -- the theory of the election fraud

16           is that people had to go to different drop boxes so

17           people didn't notice that they were going to the same

18           one?

19                   A   No, just different -- it's just a drop-off --

20           that was part of it, but somebody could have gone to the

21           same drop box more than once.

22                   Q   Did -- is that ever talked about in the movie?

23                   A   It was drop box -- it was ten drop box -- ten

24           drop box visits.

25                   Q   And that's not ten separate drop box?


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1                    A   No.

2                    Q   Just ten visits to any drop box?

3                    A   Uh-huh.

4                    Q   Was that clarified in the movie?

5                    A   I -- I'd have to rerun that movie -- I'd have

6            to rerun the whole thing in my head right now.

7                    Q   Okay.

8                    A   But it -- I mean, when he -- when they

9            explained the criteria, he says ten drop box -- ten

10           visits to drop box.         And this might have been a

11           limitation on my part, because I thought it was                      it

12           could have been the same drop box.

13                   Q   Okay.    I'm just gonna go back in time a little

14           bit now to -- I think earlier before lunch you testified

15           that back in March, you had the understanding that OpSec

16           and TTV were still matching videos to geo-tracking data;

17           is that correct?        You thought that back in March, they

18           were still doing that?

19                   A   Yes.

20                   Q   Okay.

21                   A   I mean, one of them was doing it.

22                   Q   Someone who worked for OpSec or TTV was doing

23           that?

24                   A   (No oral response.)

25                   Q   Okay.    Now, if you were -- if you wanted to


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1            have more mule videos, right, and you -- you said a

2            couple of times today that you were always hoping for

3            more of them, and you always understood that they were

4            geo-tracked, and that the reason you hadn't received them

5            at some times was because you were waiting for the data

6            to be matched; is that correct?

7                    A   That's what we were told, and that it was hard

8           for them to find it.

9                    Q   Okay.

10                   A   I think in Catherine's deposition, she says

11           that it was a daunting task or something.

12                   Q   Okay.    And so they -- someone, either Catherine

13           or Gregg, represented to you at the time that they were

14           still working on it and that they were gonna get you more

15           as they were matching it to the video?

16                   A   I mean, it was my understanding.               I don't know

17          if anybody represented that to me.

18                   Q   Okay.

19                   A   That was my understanding as why we couldn't

20           get it.     I didn't have a lot of back-and-forth with them.

21                   Q   Okay.    And so if that was your understanding,

22           did you ever suggest to Mr. D'Souza that you would push

23           back the movie date so that you could wait until you had

24           more video?

25                   A   No, because the fundamental -- fundamental

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                                                                          Page 124

1            premise of the film is not -- and this is made incredibly

2            clear in the film.        The fundamental premise of the film

3            is that the geo-tracking of the 2,000 mules is the

4            thing -- is the research that was essential for the

5           findings, just like they -- research for the findings.

6                        The supplemental reinforcement or -- or the

7            thing that helped it was that then we could confirm it

8            with video.      But the video was always just a plus.                We

9            just wanted more of it.           We didn't want the video to

10           confirm it; we wanted the video because it helped the

11          film be more -- it helped the film be more cinematic.

12                   Q   Okay.

13                   A   We could have made this film without any video.

14                   Q   Okay.    And that would have just entailed

15           looking at the -- the geo-tracking data?

16                   A   Yes.

17                       MS. BALLIETT:       Okay.      That's it.      I don't have

18           any more questions for now.             Although, I reserve if

19           anyone else does.

20                       THE WITNESS:       That's it?

21                       MR. EVANS:      No questions from me.

22                       MS. HYLAND:      No questions or follow-up here.

23                       THE WITNESS:       I'm almost disappointed.

24                       THE VIDEOGRAPHER:         This concludes the

25           videotaped deposition.          We are off the record at


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1            2:17 p.m.

2                      THE REPORTER:      Did you want an expedited copy?

3                      MS. BALLIETT:      Yes, by Thursday.

4                      THE REPORTER:      And did you need a rough draft?

5                      MS. BALLIETT:      Yes.

6                      THE REPORTER:      Did you want the transcript

7            expedited as well or regular delivery?

8                      MR. VINING:     We will do a rough draft and

9            regular delivery.

10                     (The deposition concluded at 2:17 p.m.)

11

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1                    The following reporter and firm disclosures
            were presented at this proceeding for review by counsel:
2
                     REPORTER DISCLOSURES
3                    The following representations and disclosures
            are made in compliance with Georgia Law,
4           more specifically:
            Article 10(B) of the Rules and Regulations of the Board
5           of Court Reporting (disclosure forms)
            OCGA 9-11-28(c) (disqualification of reporter for
6           financial interest)
            OCGA 15-14-37(a) and (b) (prohibitions against contracts
7           except on a case-by-case basis).
8           - I am a certified reporter in the State of Georgia.
            - I am a subcontractor for Veritext Legal Solutions.
9           - I have been assigned to make a complete and accurate
            record of these proceedings.
10          - I have no relationship of interest in the matter on
            which I am about to report which would disqualify me from
11          making a verbatim record or maintaining my obligation of
            impartiality in compliance with the Code of Professional
12          Ethics.
            - I have no direct contract with any party in this action
13          and my compensation is determined solely by the terms of
            my subcontractor agreement.
14
                                FIRM DISCLOSURES
15          - Veritext Legal Solutions was contacted to provide
            reporting services by the noticing or taking attorney in
16          this matter.
            - There is no agreement in place that is prohibited by
17          OCG 15-14-37(a) and (b). Any case-specific discounts are
            automatically applied to all parties, at such time as any
18          party receives a discount.
            - Transcripts: The transcript of this proceeding as
19          produced will be a true, correct, and complete record of
            the colloquies, questions, and answers as submitted by
20          the certified court reporter.
            - Exhibits: No changes will be made to the exhibits as
21          submitted by the reporter, attorneys, or witnesses.
            - Password-Protected Access: Transcripts and exhibits
22          relating to this proceeding will be uploaded to a
            password-protected repository, to which all ordering
23          parties will have access.
24
25


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                                                                       Page 127

1                                 CERTIFICATE
2
             STATE OF GEORGIA
3                                                  ss:

             COUNTY OF DEKALB
4
5                      I HEREBY CERTIFY that the foregoing transcript
             was taken before me; that I was then and there a
6            Registered Professional Reporter and Registered Merit
             Reporter, License No. 6595-1471-3597-5424 for the State
7            of Georgia, and License No. 14315 in the State of
             California; that the witness before testifying was duly
8            sworn by me to testify to the whole truth; that the
             questions propounded by counsel and the answers of the
9            witness thereto were taken down by me in shorthand and
             thereafter transcribed under my direction; and that the
10           foregoing pages contain a full, true, and accurate
             transcript of all deposition testimony and proceedings
11           had, all done to the best of my skill and ability.
12                     I FURTHER CERTIFY that I am in no way related
             to, nor employed by any of the parties hereto, nor am I
13           in any way interested in the outcome.
14                    I have no direct contract with any party in
             this action and my compensation is based solely on the
15           terms of my subcontractor agreement.
16                    Nothing in the arrangements made for this
             proceeding impacts my absolute commitment to serve all
17           parties as an impartial officer of the court.
18                    DATED at Dunwoody, Georgia, this 23rd day of
             October, 2024.
19
20
21
22
                                      f ahoz.O.W6;)vt
                                   MARCELLA L. DAUGHTRY, RPR, RMR
23                                 GA License No. 6595-1471-3597-5424
                                   CA CSR 14315
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25
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                                                                           Page 128

1         Amanda Hyland, Esq.

2         ahyland@buchalter.com

3                                        October 23 2024

4         RE:        Andrews, Mark v. D'souza, Dinesh                  Et Al

5               10/22/2024, Bruce Schooley (#6967181)

6               The above-referenced transcript is available for

7         review.

8               Within the applicable timeframe, the witness should

9         read the testimony to verify its accuracy. If there are

10        any changes, the witness should note those with the

11        reason, on the attached Errata Sheet.

12              The witness should sign the Acknowledgment of

13        Deponent and Errata and return to the deposing attorney.

14        Copies should be sent to all counsel, and to Veritext at

15        cs-ny@veritext.com

16         Return completed errata within 30 days from

17       receipt of testimony.

18           If the witness fails to do so within the time

19       allotted, the transcript may be used as if signed.

20

21

22                          Yours,

23                         Veritext Legal Solutions

24

25


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1         Andrews, Mark v. D'souza, Dinesh                   Et Al

2         Bruce Schooley (#6967181)

3                                ERRATA               SHEET

4         PAGE         LINE          CHANGE

5

6         REASON

7         PAGE         LINE          CHANGE

8

9         REASON

10        PAGE         LINE          CHANGE

11

12        REASON

13        PAGE         LINE          CHANGE

14

15        REASON

16        PAGE         LINE          CHANGE

17

18        REASON

19        PAGE         LINE          CHANGE

20

21        REASON

22

23

24        Bruce Schooley                                               Date

25


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                                                                        Page 130

1         Andrews, Mark v. D'souza, Dinesh               Et Al

2         Bruce Schooley (#6967181)

3                             ACKNOWLEDGEMENT OF DEPONENT

4              I, Bruce Schooley, do hereby declare that I

5         have read the foregoing transcript, I have made any

6         corrections, additions, or changes I deemed necessary as

7         noted above to be appended hereto, and that the same is

8         a true, correct and complete transcript of the testimony

9         given by me.

10

11

12        Bruce Schooley                                      Date

13        *If notary is required

14                              SUBSCRIBED AND SWORN TO BEFORE ME THIS

15                                        DAY OF                          , 20

16

17

18

19                               NOTARY PUBLIC

20

21

22

23

24

25


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                    Federal Rules of Civil Procedure

                                     Rule 30




       (e)   Review By the Witness; Changes.

       (1)   Review; Statement of Changes. On request by the

       deponent or a party before the deposition is

       completed, the deponent must be allowed 30 days

       after being notified by the officer that the

       transcript or recording        is available       in which:

       (A)   to review    the transcript or recording; and

       (B)   if there are changes in form or substance, to

       sign a statement listing the changes and the

       reasons for making them.

       (2)   Changes Indicated in the        Officer's Certificate.

       The officer must note in the certificate prescribed

       by Rule 30(f) (1) whether a review was requested

       and, if so, must attach any changes the deponent

       makes during the 30-day period.




       DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

       ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

       THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

       2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

       OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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                    VERITEXT LEGAL SOLUTIONS


        COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

  Veritext Legal Solutions represents that the

  foregoing transcript is a true, correct and complete

  transcript of the colloquies, questions and answers

  as submitted by the court reporter. Veritext Legal

  Solutions further represents that the attached

  exhibits, if any, are true, correct and complete

  documents as submitted by the court reporter and/or

  attorneys in relation to this deposition and that

  the documents were processed in accordance with

  our litigation support and production standards.


  Veritext Legal Solutions is committed to maintaining

  the confidentiality of client and witness information,

  in accordance with the regulations promulgated under

  the Health Insurance Portability and Accountability

  Act (HIPAA), as amended with respect to protected

  health information and the Gramm-Leach-Bliley Act, as

  amended, with respect to Personally Identifiable

  Information (PII). Physical transcripts and exhibits

  are managed under strict facility and personnel access

  controls. Electronic files of documents are stored

  in encrypted form and are transmitted in an encrypted
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  fashion to authenticated parties who are permitted to

  access the material. Our data is hosted in a Tier 4

  SSAE 16 certified facility.


  Veritext Legal Solutions complies with all federal and

  State regulations with respect to the provision of

  court reporting services, and maintains its neutrality

  and independence regardless of relationship or the

  financial outcome of any litigation. Veritext requires

  adherence to the foregoing professional and ethical

  standards from all of its subcontractors in their

  independent contractor agreements.



  Inquiries about Veritext Legal Solutions'

  confidentiality and security policies and practices

  should be directed to Veritext's Client Services

  Associates indicated on the cover of this document or

  at www.veritext.com.
